Case 1:18-cv-00966-CFC-CJB Document 743 Filed 08/05/21 Page 1 of 120 PageID #: 23653




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

      VLSI TECHNOLOGY LLC,                             )
                                                       )
                             Plaintiff,                )
                                                       )
                     v.                                )   C.A. No. 18-966-(CFC)
                                                       )
      INTEL CORPORATION,                               )
                                                       )
                             Defendant.                )

                   INTEL CORPORATION’S NOTICE OF SUBPOENAS TO
                              FINJAN HOLDINGS, LLC

          PLEASE TAKE NOTICE THAT, pursuant to Federal Rules of Civil Procedure 26,

   30(b)(6), and 45, Defendant Intel Corporation will serve Finjan Holdings, LLC with the attached

   subpoenas for the production of documents and things and deposition testimony. The production

   and deposition shall be made at such date, time, and location as is specified in the accompanying

   subpoenas, or at such date, time, and location as ordered by the Court.

          PLEASE TAKE FURTHER NOTICE that, pursuant to Rule 30(b)(3) of the Federal Rules

   of Civil Procedure, the deposition will be videotaped and recorded stenographically. You are

   invited to attend and cross-examine.

          The subpoenas and their schedules describing the relevant subject matter are attached.
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    August 5, 2021


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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                            for the
                                                             District
                                                       __________     of Delaware
                                                                   District of __________

                     VLSI Technology LLC                                       )
                               Plaintiff                                       )
                                  v.                                           )      Civil Action No.      1:18-cv-00966-CFC
                        Intel Corporation                                      )
                                                                               )
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                                                        Finjan Holdings, LLC
                                   c/o Corporation Trust Center, 1209 Orange Street, Wilmington, DE 19801
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Testimony:   YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:
See attached Schedule A.


 Place:                                                                                Date and Time:
           To be mutually agreed upon by the parties.
                                                                                       09/07/2021 or as mutually agreed by the parties.

          The deposition will be recorded by this method:                     Stenographically, video, audio, and/or LiveNote

       u Production: You, or your representatives, must also bring with you to the deposition the following documents,
         electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
         material:




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        08/05/2021
                                   CLERK OF COURT
                                                                                         OR
                                                                                                             /s/ Gregory H. Lantier
                                           Signature of Clerk or Deputy Clerk                                  Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)   Intel Corporation
                                                                        , who issues or requests this subpoena, are:
Gregory Lantier, 1875 Pennsylvania Ave, NW, Washington, DC 20006, gregory.lantier@wilmerhale.com, (202) 663-6327

                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
  Case 1:18-cv-00966-CFC-CJB Document 743 Filed 08/05/21 Page 4 of 120 PageID #: 23656
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 1:18-cv-00966-CFC

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          u I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                      SCHEDULE A

                                      DEFINITIONS

         The words and phrases used in these Topics shall have the meanings ascribed

   to them under the Federal Rules of Civil Procedure. In addition, the following terms

   shall have the meanings set forth below whenever used in any Topic:

         1.     “Finjan,” “You,” “Your,” and/or “Finjan Entities” mean CFIP Goldfish

   Holdings LLC, Finjan LLC, Finjan Software, Inc., Finjan Holdings, LLC, and/or

   their parent entities, subsidiary entities, affiliated entities, and any companies that

   have a controlling Interest in CFIP Goldfish Holdings LLC, Finjan LLC, Finjan

   Software, Inc., and Finjan Holdings, Inc., together with each of their respective

   divisions, predecessors, successors, and any current or former employee, officer,

   director, principal, agent, consultant, representative, or attorney thereof, or anyone

   acting on their behalf, collectively or individually.

         2.     “Intel” means Intel Corporation, including when communicating

   through its present and former officers, employees, representatives, agents, and

   anyone acting on its behalf.

         3.     “Fortress” means Fortress Investment Group, LLC, and/or its parent

   entities, subsidiary entities, and affiliated entities, together with each of their

   respective divisions, predecessors, successors, present and former officers, directors,
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   employees, representatives, agents, and anyone acting on its behalf, collectively or

   individually.

         4.        “VLSI” means Defendants VLSI Technology LLC, CF VLSI Holdings

   LLC, and/or their parent entities, subsidiary entities, and affiliated entities, together

   with each of their respective divisions, predecessors, successors, present and former

   officers, directors, employees, representatives, agents, and anyone acting on their

   behalf, collectively or individually.

         5.        “Acquisition” means the acquisition by Fortress of Finjan Holdings,

   LLC and its wholly owned subsidiary Finjan LLC.

         6.        “Patent License Agreement” means the Confidential Settlement,

   Release, and Patent License Agreement dated November 20, 2012, entered into by

   Intel, Finjan, Inc., and Finjan Software, Inc.

         7.        “Person(s)” means natural persons as well as business entities and

   associations of all sorts, including partnerships, companies, firms, proprietorships,

   joint ventures, corporations, government agencies, and unincorporated associations.

         8.        “Investor(s)” means any Person who holds or has held (a)any security

   issued by any of the Finjan Defendants, or (b) any derivative security (as defined in

   17 CFR § 240.16a-1) the value of which is in any way related to any of the Finjan

   Entities.


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         9.     “Litigation” means the above-referenced action, 1:18-cv-00966-CFC,

   in the United States District Court for the District of Delaware.

         10.    “Chancery Court Litigation” means the action filed by Intel

   Corporation in the Delaware Court of Chancery, Intel Corporation v. Fortress

   Investment Group, et al., C.A. No. 2021-0021-MTZ (Del. Ch. Ct.).

         11.    “Interest” means a financial interest of any kind in the subject matter of

   this Litigation or any other interest that could be substantially affected by the

   outcome of this Litigation.

         12.    “Document(s)” has the broadest possible meaning permitted by Rules

   26 and 34 of the Rules of the Federal Rules of Civil Procedure and the relevant case

   law, and specifically and without limitation include tangible Things and

   electronically stored information, including e-mail, texts, messages and information

   stored on computer disk or other electronic, magnetic, or optical data storage

   medium. “Document(s)” also includes all drafts or non-final versions, alterations,

   modifications, and amendments to any of the foregoing.

         13.    “Communication(s)” means the transmittal of information in the form

   of facts, ideas, inquiries, and any exchange or transfer of information whether

   written, oral, electronic, or in any form.




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            14.   “Date(s)” shall mean the exact date(s), if known, or the closest

   approximation to the exact date(s) as can be specified, including without limitation

   the year, month, week in a month, or part of a month.

            15.   “Relating” means regarding, referring to, concerning, mentioning,

   reflecting, pertaining to, analyzing, evidencing, stating, involving, identifying,

   describing, discussing, documenting, commenting on, dealing with, embodying,

   responding to, supporting, contradicting, comprising, containing, or constituting (in

   whole or in part), as the context makes appropriate.

            16.   The singular form of a word shall be interpreted as plural, and vice

   versa; the use of the masculine form of a pronoun also includes within its meaning

   the feminine form of the pronoun so used, and vice versa; and the use of any tense

   of any verb includes also within its meaning all other tenses of the verb so used.

            17.   The connectives “and” and “or” shall be construed either disjunctively

   or conjunctively so as to acquire the broadest meaning possible, so as to bring within

   the scope of the Request all information that might otherwise be construed to be

   outside its scope.

            18.   The term “all” is to be construed to mean “any” and “each” and vice

   versa.




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                                  23662



       19.     “Including” shall be construed to mean “including, without limitation”

 or “including, but not limited to.”

       20.     “Identify” means (1) when referring to a Person, the Person’s full name,

 present or last known address and telephone number, and the last known title and

 place of employment; (2) when referring to Documents, the production number or

 type of Document, its general nature and subject matter, Date of creation, and all

 author(s), addresses(s), and recipient(s); (3) when referring to a source or Thing,

 sufficient information to identify the location, ownership, and nature of such source

 or Thing.

                               DEPOSITION TOPICS

       1.      Any Communications with one or more of Fortress Investment Group,

 LLC, VLSI Technology LLC, and CF VLSI Holdings LLC Relating to the Patent

 License Agreement, the Acquisition, this Litigation, or the Chancery Court

 Litigation.

       2.      Any Communications with one or more of Irell & Manella LLP and/or

 Moore & Van Allen Relating to the Patent License Agreement, the Acquisition, this

 Litigation, or the Chancery Court Litigation.

       3.      The Acquisition and/or the Patent License Agreement.

       4.      Any patent licenses entered on behalf of one or more of the Finjan

 Entities at any time between 2007 and 2017.
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                                  23663



        5.     Licensing policies of any of the Finjan Entities in place between 2007

 and 2017.

        6.     The receipt and distribution of any funds paid by Intel under the Patent

 License Agreement.

        7.     Each of the Finjan Entities’ revenues from 2007 to the present and the

 source of those revenues.

        8.     Any of the Finjan Entities’ revenue projections for 2020 through 2030.

        9.     The identity of the directors, managers, and senior employees of each

 of the Finjan Entities in 2012, 2020, and today.

        10.    The corporate formation (without regard for date) and ownership

 (presently and for the past three years) of each of the Finjan Entities.

        11.    Fortress’s direct or indirect control, or lack thereof, over each of the

 Finjan Entities.

        12.    Evidence Relating to anything of value, including funds, transferred to

 or from any of the Finjan Entities, or any of their employees, officers, or directors,

 directly or indirectly, to or from Fortress or VLSI, or any of their employees,

 officers, or directors.

        13.    The Chancery Court Litigation.




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                                  23664



       14.    The identity of the three Finjan employees, officers, outside counsel,

 and/or other personnel most knowledgeable regarding the Patent License Agreement

 and its negotiation and drafting.

       15.    The identity of the Finjan employees, officers, outside counsel, and/or

 other personnel most knowledgeable regarding the Acquisition, including

 knowledge of the decision to enter into a sale or acquisition of Finjan, the bidding

 process, the due diligence process, the entities that participated, and the negotiations

 between Finjan and said entities.

       16.    Due diligence prior to the Acquisition by any and all entities that

 presented bids to purchase Finjan and participated in due diligence.

       17.    The identity of all entities that participated in the bidding process to

 acquire Finjan, including those referred to as “Party A,” “Party B,” “Party C,” and

 “Party D” in Finjan Holdings, Inc.’s Schedule 14D-9 filed with the United States

 Securities and Exchange Commission on June 24, 2020.

       18.    Any Communications with Fortress Relating to Fortress’s due diligence

 review of the Finjan Entities’ assets and liabilities, including but not limited to the

 Finjan Entities’ patents and patent licenses, from January 1, 2018 through the

 present.




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Case 1:18-cv-00966-CFC-CJB Document 743 Filed 08/05/21 Page 13 of 120 PageID #:
                                  23665



       19.    Fortress’s control over, oversight of, or access to the Finjan Entities’

 cash, assets, other funding sources, bank accounts, or finances generally.

       20.    Any Communications between the Finjan Entities and Fortress Relating

 to patent purchases, patent licenses, or litigation.

       21.    Documents sufficient to show all patents owned, assigned, or licensed

 to any of the Finjan Entities.

       22.    Any actual or threatened preemptive challenges to the validity of any

 patents owned, assigned or licensed to any of the Finjan Entities, including

 Documents sufficient to show all threatened or filed petitions for Inter Partes

 review.

       23.    The following documents served or produced in Goebert v. Finjan

 Holdings Inc., No. 2020-0610 (Del. Ch. Ct.): all written discovery responses Finjan

 served, all deposition transcripts from depositions taken of Finjan witnesses, any

 pleadings filed under seal, and any documents produced under Section 220 of the

 Delaware General Corporation Law.




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                                          23666
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                            DistrictDistrict
                                                       __________    of Delaware
                                                                             of __________
                     VLSI Technology LLC
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 1:18-cv-00966-CFC
                        Intel Corporation                                     )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:                                                        Finjan Holdings, LLC
                                  c/o Corporation Trust Center, 1209 Orange Street, Wilmington, DE 19801
                                                       (Name of person to whom this subpoena is directed)

      ✔
      u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See attached Schedule A.



 Place:                                                                                 Date and Time:
          To be mutually agreed upon by the parties.                                    09/07/2021 or as mutually agreed by the parties.

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        08/05/2021

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                  /s/ Gregory H. Lantier
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Intel Corporation
                                                                        , who issues or requests this subpoena, are:
Gregory Lantier, 1875 Pennsylvania Ave, NW, Washington, DC 20006, gregory.lantier@wilmerhale.com, (202) 663-632

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
        Case 1:18-cv-00966-CFC-CJB Document 743 Filed 08/05/21 Page 15 of 120 PageID #:
                                          23667
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:18-cv-00966-CFC

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
       Case 1:18-cv-00966-CFC-CJB Document 743 Filed 08/05/21 Page 16 of 120 PageID #:
                                         23668
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                    SCHEDULE A

                                    DEFINITIONS

       The words and phrases used in these Requests shall have the meanings

 ascribed to them under the Federal Rules of Civil Procedure. In addition, the

 following terms shall have the meanings set forth below whenever used in any

 Request:

       1.     “Finjan,” “You,” “Your,” and/or “Finjan Entities” mean CFIP Goldfish

 Holdings LLC, Finjan LLC, Finjan Software, Inc., Finjan Holdings, LLC, and/or

 their parent entities, subsidiary entities, affiliated entities, and any companies that

 have a controlling Interest in CFIP Goldfish Holdings LLC, Finjan LLC, Finjan

 Software, Inc., and Finjan Holdings, Inc., together with each of their respective

 divisions, predecessors, successors, and any current or former employee, officer,

 director, principal, agent, consultant, representative, or attorney thereof, or anyone

 acting on their behalf, collectively or individually.

       2.     “Intel” means Intel Corporation, including when communicating

 through its present and former officers, employees, representatives, agents, and

 anyone acting on its behalf.

       3.     “Fortress” means Fortress Investment Group, LLC, and/or its parent

 entities, subsidiary entities, and affiliated entities, together with each of their

 respective divisions, predecessors, successors, present and former officers, directors,
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 employees, representatives, agents, and anyone acting on its behalf, collectively or

 individually.

       4.        “VLSI” means Defendants VLSI Technology LLC, CF VLSI Holdings

 LLC, and/or their parent entities, subsidiary entities, and affiliated entities, together

 with each of their respective divisions, predecessors, successors, present and former

 officers, directors, employees, representatives, agents, and anyone acting on their

 behalf, collectively or individually.

       5.        “Acquisition” means the acquisition by Fortress of Finjan Holdings,

 LLC and its wholly owned subsidiary Finjan LLC.

       6.        “Patent License Agreement” means the Confidential Settlement,

 Release, and Patent License Agreement dated November 20, 2012, entered into by

 Intel, Finjan, Inc., and Finjan Software, Inc.

       7.        “Person(s)” means natural persons as well as business entities and

 associations of all sorts, including partnerships, companies, firms, proprietorships,

 joint ventures, corporations, government agencies, and unincorporated associations.

       8.        “Investor(s)” means any Person who holds or has held (a)any security

 issued by any of the Finjan Defendants, or (b) any derivative security (as defined in

 17 CFR § 240.16a-1) the value of which is in any way related to any of the Finjan

 Entities.



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       9.     “Litigation” means the above-referenced action, 1:18-cv-00966-CFC,

 in the United States District Court for the District of Delaware.

       10.    “Chancery Court Litigation” means the action filed by Intel

 Corporation in the Delaware Court of Chancery, Intel Corporation v. Fortress

 Investment Group, et al., C.A. No. 2021-0021-MTZ (Del. Ch. Ct.).

       11.    “Interest” means a financial interest of any kind in the subject matter of

 this Litigation or any other interest that could be substantially affected by the

 outcome of this Litigation.

       12.    “Document(s)” has the broadest possible meaning permitted by Rules

 26 and 34 of the Rules of the Federal Rules of Civil Procedure and the relevant case

 law, and specifically and without limitation include tangible Things and

 electronically stored information, including e-mail, texts, messages and information

 stored on computer disk or other electronic, magnetic, or optical data storage

 medium. “Document(s)” also includes all drafts or non-final versions, alterations,

 modifications, and amendments to any of the foregoing.

       13.    “Communication(s)” means the transmittal of information in the form

 of facts, ideas, inquiries, and any exchange or transfer of information whether

 written, oral, electronic, or in any form.




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          14.   “Date(s)” shall mean the exact date(s), if known, or the closest

 approximation to the exact date(s) as can be specified, including without limitation

 the year, month, week in a month, or part of a month.

          15.   “Relating” means regarding, referring to, concerning, mentioning,

 reflecting, pertaining to, analyzing, evidencing, stating, involving, identifying,

 describing, discussing, documenting, commenting on, dealing with, embodying,

 responding to, supporting, contradicting, comprising, containing, or constituting (in

 whole or in part), as the context makes appropriate.

          16.   The singular form of a word shall be interpreted as plural, and vice

 versa; the use of the masculine form of a pronoun also includes within its meaning

 the feminine form of the pronoun so used, and vice versa; and the use of any tense

 of any verb includes also within its meaning all other tenses of the verb so used.

          17.   The connectives “and” and “or” shall be construed either disjunctively

 or conjunctively so as to acquire the broadest meaning possible, so as to bring within

 the scope of the Request all information that might otherwise be construed to be

 outside its scope.

          18.   The term “all” is to be construed to mean “any” and “each” and vice

 versa.

          19.   “Including” shall be construed to mean “including, without limitation”

 or “including, but not limited to.”
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       20.    “Identify” means (1) when referring to a Person, the Person’s full name,

 present or last known address and telephone number, and the last known title and

 place of employment; (2) when referring to Documents, the production number or

 type of Document, its general nature and subject matter, Date of creation, and all

 author(s), addresses(s), and recipient(s); (3) when referring to a source or Thing,

 sufficient information to identify the location, ownership, and nature of such source

 or Thing.

                                 INSTRUCTIONS

       The following instructions shall apply to all the below Requests and should

 be considered part of each Request.

       21.    You shall produce all responsive Documents (including any stored by

 electronic means). If You are withholding or intend to withhold any Documents

 responsive to these Requests, You are requested to state the basis for withholding

 the Document in a manner sufficient to enable Intel and the Court to adjudicate the

 validity of its withholding. In the case of any Documents being withheld on the

 grounds of attorney-client privilege, work-product doctrine, or other privilege

 doctrine or immunity, please also provide a privilege log identifying the following

 information for each Document:




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              a.    the Date appearing on the Document, and if no Date appears

                    thereon, so state and give the Date, or approximate Date, on

                    which the Document was prepared;

              b.    the type or general nature of the Document (i.e., whether it is a

                    letter, memorandum, email, minutes of a meeting, etc.);

              c.    the name, title, and company affiliation of the Person who

                    prepared the Document;

              d.    the name, title, and company affiliation of each Person to whom

                    the Document was disclosed, including the Person or Persons to

                    whom it was addressed and the Person or Persons who received

                    the Document, or copies of the Document including blind copy

                    recipients, and any individual to whom the Document was

                    distributed, shown, or explained;

              e.    the name, title, and company affiliation of the Person or Persons

                    who maintain custody of the Document; and

              f.    the general subject matter of the Document and the basis for

                    withholding the Document, in a manner sufficient for Intel and

                    the Court to determine the validity of Your withholding.

       22.    Produce all responsive Documents in Your actual or constructive

 possession, custody, or control, or the actual or constructive possession, custody, or
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 control of Your attorneys, accountants, representatives, consultants, agents,

 employees, or anyone else acting on Your behalf. You are to produce entire

 Documents, including attachments, enclosures, cover letters, memoranda and

 appendices.

       23.     Each Document is to be produced along with all nonidentical drafts

 thereof in their entirety, without abbreviation or redaction, and as maintained in the

 ordinary course of business. In the event that multiple copies of a Document exist,

 produce every copy on which appear any notations or markings of any sort not

 appearing on any other copy.

       24.     If You contend that any Request is objectionable in whole or in part,

 You shall state with particularity each objection, the basis for it, and the categories

 of information to which the objection applies and shall respond to the Request

 insofar as it is not deemed objectionable.

       25.     If You find the meaning of any term in these Requests unclear or

 ambiguous, You shall assume a reasonable meaning, state what the assumed

 meaning is, and respond to the Request according to the assumed meaning.

       26.     The Documents produced in response to these Requests shall be (a)

 organized and designated to correspond to the categories in these Requests or, if not,

 (b) produced as they are maintained in the normal course of business, and in either

 case: (i) all associated file labels, file headings, and file folders shall be produced
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 together with the responsive Documents from each file and each file shall be

 identified as to its owner or custodian; (ii) all Documents that cannot be legibly

 copied shall be produced in their original form; otherwise, You may produce

 photocopies; (iii) all photocopies shall be stapled or clipped as the originals; and (iv)

 each page shall be given a discrete production number.

       27.     None of the Definitions or Requests set forth above and below shall be

 construed as an admission Relating to the existence of evidence, to the relevance or

 admissibility of any evidence, or to the truth or accuracy of any statement or

 characterization in the Definition or Request.

       28.     These Requests are continuing in nature and require supplemental or

 additional responses in accordance with Rule 26(e) of the Federal Rules of Civil

 Procedure.

                              DOCUMENT REQUESTS

       1.      All Communications with one or more of Fortress Investment Group,

 LLC, VLSI Technology LLC, and CF VLSI Holdings LLC Relating to the Patent

 License Agreement, the Acquisition, this Litigation, or the Chancery Court

 Litigation.

       2.      All Communications with one or more of Irell & Manella LLP and/or

 Moore & Van Allen Relating to the Patent License Agreement, the Acquisition, this

 Litigation, or the Chancery Court Litigation.

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        3.    All Documents and Communications Relating to the Acquisition and/or

 the Patent License Agreement.

        4.    All patent licenses entered on behalf of one or more of the Finjan

 Entities at any time between 2007 and 2017.

        5.    All Documents and Communications relating to any licensing policies

 of any of the Finjan Entities in place between 2007 and 2017.

        6.    Documents sufficient to show the receipt and distribution of any funds

 paid by Intel under the Patent License Agreement.

        7.    Documents sufficient to show each of the Finjan Entities’ revenues

 from 2007 to the present and to identify the source of those revenues.

        8.    All Documents reflecting one or more of the Finjan Entities’ revenue

 projections for 2020 through 2030.

        9.    Documents sufficient to identify the directors, managers, and senior

 employees of each of the Finjan Entities in 2012, 2020, and today.

        10.   Documents sufficient to show the corporate formation (without regard

 for date) and ownership (presently and for the past three years) of each of the Finjan

 Entities.

        11.   All Documents and Communications that Relate to Fortress’s direct or

 indirect control, or lack thereof, over each of the Finjan Entities.



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       12.    All Documents and Communications evidencing anything of value,

 including funds, transferred to or from any of the Finjan Entities, or any of their

 employees, officers, or directors, directly or indirectly, to or from Fortress or VLSI,

 or any of their employees, officers, or directors.

       13.    All Communications Relating to the Chancery Court Litigation.

       14.    Documents sufficient to identify the three Finjan employees, officers,

 outside counsel, and/or other personnel most knowledgeable regarding the Patent

 License Agreement and its negotiation and drafting.

       15.    Documents sufficient to identify the Finjan employees, officers, outside

 counsel, and/or other personnel most knowledgeable regarding the Acquisition,

 including knowledge of the decision to enter into a sale or acquisition of Finjan, the

 bidding process, the due diligence process, the entities that participated, and the

 negotiations between Finjan and said entities.

       16.    All Documents and Communications relating to due diligence prior to

 the Acquisition by any and all entities that presented bids to purchase Finjan and

 participated in due diligence.

       17.    Documents sufficient to identify all entities that participated in the

 bidding process to acquire Finjan, including those referred to as “Party A,” “Party

 B,” “Party C,” and “Party D” in Finjan Holdings, Inc.’s Schedule 14D-9 filed with

 the United States Securities and Exchange Commission on June 24, 2020.
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       18.    All Communications with Fortress Relating to Fortress’s due diligence

 review of the Finjan Entities’ assets and liabilities, including but not limited to the

 Finjan Entities’ patents and patent licenses, from January 1, 2018 through the

 present.

       19.    All Documents and Communications Relating to Fortress’s control

 over, oversight of, or access to the Finjan Entities’ cash, assets, other funding

 sources, bank accounts, or finances generally.

       20.    All Communications between the Finjan Entities and Fortress Relating

 to patent purchases, patent licenses, or litigation.

       21.    Documents sufficient to show all patents owned, assigned, or licensed

 to any of the Finjan Entities.

       22.    Documents sufficient to show all actual or threatened preemptive

 challenges to the validity of any patents owned, assigned or licensed to any of the

 Finjan Entities, including Documents sufficient to show all threatened or filed

 petitions for Inter Partes review.

       23.    The following documents served or produced in Goebert v. Finjan

 Holdings Inc., No. 2020-0610 (Del. Ch. Ct.): all written discovery responses Finjan

 served, all deposition transcripts from depositions taken of Finjan witnesses, any

 pleadings filed under seal, and any documents produced under Section 220 of the

 Delaware General Corporation Law.
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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE




 VLSI TECHNOLOGY LLC,


                Plaintiff,
                                                       C.A. No. ______________________

        v.                                             JURY TRIAL DEMANDED


 INTEL CORPORATION,


                Defendant.




      VLSI TECHNOLOGY LLC'S COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiff VLSI Technology LLC ("VLSI"), by and through its undersigned counsel,

 pleads the following against Intel Corporation ("Intel") and alleges as follows:

                                          THE PARTIES

        1.      Plaintiff VLSI is a Delaware limited liability company duly organized and

 existing under the laws of the State of Delaware. The address of the registered office of VLSI is

 Corporation Trust Center, 1209 Orange St., Wilmington, DE 19801. The name of VLSI's

 registered agent at that address is The Corporation Trust Company.

        2.      VLSI is the assignee and owns all right, title, and interest to U.S. Patent Nos.

 6,212,633 ("the '633 Patent"), 7,246,027 ("the '027 Patent"), 7,247,552 ("the '552 Patent"),




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 7,523,331 ("the '331 Patent"), and 8,081,026 ("the '026 Patent") (collectively, the "Asserted

 Patents").

         3.      On information and belief, Defendant Intel is a corporation duly organized and

 existing under the laws of the State of Delaware, having its principal place of business at 2200

 Mission College Blvd., Santa Clara, CA 95054.

                                    JURISDICTION AND VENUE

         4.      This is an action arising under the patent laws of the United States, 35 U.S.C. § 1

 et seq. Accordingly, this Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

 1338(a).

         5.      This Court has personal jurisdiction over Intel because Intel is incorporated in

 Delaware. Intel also manufactures products that are and have been used, offered for sale, sold,

 and purchased in the District of Delaware.

         6.      Under 28 U.S.C. §§ 1391(b)-(d) and 1400(b), venue is proper in this judicial

 district because Intel is incorporated in this district, has committed acts of infringement within

 this judicial district giving rise to this action, and does business in this district.

                                             FIRST CLAIM

                             (Infringement of U.S. Patent No. 6,212,633)

         7.      VLSI re-alleges and incorporates herein by reference Paragraphs 1-6 of its

 Complaint.

         8.      The '633 Patent, entitled "Secure data communication over a memory-mapped

 serial communications interface utilizing a distributed firewall," was duly and lawfully issued

 April 3, 2001. A true and correct copy of the '633 Patent is attached hereto as Exhibit 1.

         9.      The '633 Patent names Paul S. Levy and Steve Cornelius as co-inventors.




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        10.     The '633 Patent has been in full force and effect since its issuance. VLSI owns by

 assignment the entire right, title, and interest in and to the '633 Patent, including the right to seek

 damages for past, current, and future infringement thereof.

        11.     The '633 Patent states that it relates to a "distributed firewall . . . utilized in

 conjunction with a memory-mapped serial communications interface." Ex. 1 at Abstract.

        12.     The '633 Patent explains that "Peer-to-peer communications are particularly

 useful in bandwidth-intensive operations such as video communications. Thus, for example, if a

 computer CPU is coupled to a video display and a DVD drive through an IEEE 1394 interface,

 the DVD drive could transmit video information directly to the video display over the interface,

 thereby eliminating the need for the CPU to process and oversee the transmission." Ex. 1 at 2:51-

 60.

        13.     The patent further explains that "one problem associated with . . . memory-

 mapped communications interfaces, is that there is no provision for secured communications

 between devices coupled to such interfaces. Each data transmission is broadcast to every node on

 the interface. Only a node that is indicated as the destination for a data transmission handles the

 transmission—all other nodes ignore the data transmission. Moreover, data is transmitted

 without any encryption—a process often used in other environments to scramble transmitted

 information and thereby prevent unauthorized entities from comprehending any intercepted

 information." Ex. 1 at 2:60-67.

        14.     The '633 Patent states that the "distributed firewall incorporates security managers

 in the selected nodes that are respectively configured to control access to their associated nodes,

 thereby restricting access to such nodes to only authorized entities." Ex. 1 at 3:52-56.




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        15.     VLSI is informed and believes, and thereon alleges, that Intel has infringed and

 unless enjoined will continue to infringe one or more claims of the '633 Patent, in violation of 35

 U.S.C. § 271, by, among other things, making, using, offering to sell, and selling within the

 United States, supplying or causing to be supplied in or from the United States, and importing

 into the United States, without authority or license, Intel products with the infringing features,

 including Intel products containing Intel On-Chip System Fabric (commonly abbreviated

 "IOSF") technology.

        16.     The '633 accused products, for example, embody every limitation of at least claim

 36 of the '633 Patent, literally or under the doctrine of equivalents, as set forth below. The further

 descriptions below, which are based on publicly available information, are preliminary examples

 and are non-limiting.

        ["A method of controlling access to first and second nodes from a plurality of nodes

        coupled to one another over a memory-mapped serial communications interface of

        the type supporting peer-to-peer communications between the plurality of nodes,

        the method comprising:"]

        17.     The '633 accused products implement a method of controlling access to multiple

 IOSF sideband agents (such as the circuit hosting the TMCSRCCLK, TMCSRCCKL2,

 ENCCKRQ, and ICCSEC registers as described on page 181 of the Intel C620 Series Chipset

 Platform Controller Hub Datasheet, as well as the "Intel ME" and "PMC" circuits).




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        18.     This method controls access over a memory-mapped serial communications

 interface. For example, ICCSEC is memory-mapped at offset 0x1020.




        19.     Furthermore, agents on the IOSFSB, which stands for "IOSF Sideband," use serial

 communications.

        20.     For example, Intel's U.S. Patent No. 9,213,666 discussing IOSF sideband explains

 that "[a] sideband interface . . . can be implemented as a serial message interface (instead of

 many parallel sideband wires) to simplify structural layout requirements." 6:53-56.

        21.     Moreover, the patent further notes that "on-chip power management control" is an

 "example[] of communication types that may be sent via a sideband message interface," 6:57-59;

 "PMC," referenced above in the ICCSEC description, appears to be a type of Power

 Management Control based on its use of an acronym commonly appropriated for that purpose,

 further correlating the "IOSFB" reference with IOSF sideband as described in the '666 patent.

 Similarly, the patent notes that "a manageability engine" (such as Intel's ME) can communicate




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 through an IOSF sideband hub, further correlating the "IOSFSB" reference with IOSF sideband

 as described in the '666 patent. 15:19-22.

        22.     As described in the '666 patent, IOSF sideband can provide communications

 "between the agents" on the fabric (as stated in the Abstract), i.e., peer-to-peer communication

 between nodes on the fabric, such as the circuitry implementing ICCSEC, Intel ME, and PMC.

        ["a) controlling access to the first node using a first security manager disposed in

        the first node,"]

        23.     The '633 accused products control access to the first node using a first security

 manager disposed in the first node, such as the Policy Enforcer 371 in each IOSF sideband agent,

 such as the circuit implementing the PMC, that controls access to the sideband agent, such as the

 node implementing registers TMCSRCCLK, TMCSRCCKL2, ENCCKRQ, and ICCSEC.

        24.     As explained in Intel's U.S. Patent No. 9,805,221 discussing SAI attributes,

 referenced above in Intel's discussion of ICCSEC in the Intel C620 product, "incoming security

 information, which can include, in one embodiment, the SAI, command information and address

 information, can be provided through input multiplexer 376 to policy enforcer 371 to determine

 whether access is to be permitted," 7:34-39, with reference to Figure 5 reproduced here:




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        25.     The Security Attributes Generator 365 and the Policy Enforcer 371 present in the

 IOSF agents (such as the Intel ME, the PMC, and the circuit implementing ICCSEC), are a

 distributed firewall as claimed.

        26.     Furthermore, as explained in the '221 patent, functional units "may also be

 configured to perform sophisticated access control mechanisms such as dynamic policy

 configuration to enable on-the-fly revision of policy values linked to an asset," thus locally

 generating an authorization list of authorized nodes as claimed. 8:36-39.

        ["wherein the first node is assigned a segment of memory addresses for the

        communications interface, the segment of memory addresses including secure and

        unsecure portions thereof,"]

        27.     The first node in the '633 accused products is assigned a segment of memory

 addresses for the communications interface, the segment of memory addresses including secure




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 and unsecure portions thereof. For example, as shown in the excerpt from page 181 of the Intel

 C620 Series Chipset Platform Controller Hub Datasheet above, the Lock_ICCG1Dyn and

 Lock_ICCSEC bits of the ICC Security register control access to certain memory-mapped ICC

 registers. For example, Lock_ICCG1Dyn controls access to TMCSRCCLK, TMCSRCCLK2,

 and ENCCKRQ, and when the bit is 1, accesses are denied. In this configuration, the memory-

 mapped addresses of these registers (at offsets 0x1000, 0x1004, and 01x1008, respectively) are a

 secure portion of the segment of memory addresses. Analogously, Lock_ICCSEC controls

 access to the ICC Security Register mapped at offset 0x1000. When this bit is 0, the memory-

 mapped address of ICCSEC is an unsecure portion of the segment.

        ["and wherein the first security manager is configured to control access only to the

        secure portion of the segment of memory addresses for the first node; and"]

        28.     The first security manager of the '633 accused products is configured to control

 access only to the secure portion of the segment of memory addresses for the first node. For

 example, as explained on the above-referenced page 181, setting the Lock_ICCG1Dyn and/or

 Lock_ICCSEC bits trigger SAI-based access controls by the Policy Enforcer only in the IOSF

 sideband agent corresponding to the circuit implementing the relevant registers.

        ["(b) controlling access to the second node using a second security manager disposed

        in the second node"]

        29.     Access to the second node in the '633 accused products is controlled using a

 second security manager disposed in the second node. For example, other sideband nodes also

 control access with their own Policy Enforcer circuits using SAIs, as discussed above, such as

 Intel ME and PMC.




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        ["wherein the first and second security managers define a distributed firewall for

        the communications interface."]

        30.     The first and second security managers define a distributed firewall for the

 communication interface in the '633 accused products. For example, by controlling access to

 individual nodes as described herein, the Policy Enforcers define a distributed firewall for the

 IOSF sideband agents.

        31.     Intel has long had knowledge of the '633 Patent. For example, the '633 Patent has

 been cited in multiple Intel patent prosecutions, including during the prosecution of its U.S.

 Patent Nos. 7,215,781; 9,507,962; 9,507,963; 9,547,779; and 9,619,672. To the extent Intel

 claims it did not have broader actual knowledge of the '633 Patent, Intel has been willfully blind

 to that patent's existence based on, for example, its publicly-known corporate policy forbidding

 its employees from reading patents held by outside companies or individuals.

        32.     VLSI is informed and believes, and thereon alleges, that Intel actively,

 knowingly, and intentionally has induced infringement of the '633 Patent by, for example,

 controlling the design and manufacture of, offering for sale, selling, supplying, and otherwise

 providing instruction and guidance regarding the above-described products with the knowledge

 and specific intent to encourage and facilitate infringing uses of such products by its customers

 both inside and outside the United States (as used in this pleading, "customers" refers to both

 direct and indirect customers, including entities that distribute and resell the accused products,

 alone or as part of a system, and end users of such products and systems). For example, Intel

 publicly provides documentation, including datasheets available through Intel's publicly

 accessible ARK service and software developer's manuals, instructing customers on uses of

 Intel's products that infringe the methods of the '633 Patent. See, e.g., http://ark.intel.com. On




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 information and belief, Intel’s customers directly infringe the '633 Patent by, for example,

 making, using, offering to sell, and selling within the United States, and importing into the

 United States, without authority or license, products containing the above-described Intel

 products.

         33.     VLSI is informed and believes, and thereon alleges, that Intel has contributed to

 the infringement by its customers of the '633 Patent by, without authority, importing, selling and

 offering to sell within the United States materials and apparatuses for practicing the claimed

 invention of the '633 Patent both inside and outside the United States. For example, the above-

 described products constitute a material part of the inventions of the '633 Patent and are not

 staple articles or commodities of commerce suitable for substantial noninfringing use. On

 information and belief, Intel knows that the above-described products constitute a material part

 of the inventions of the '633 Patent and are not staple articles or commodities of commerce

 suitable for substantial noninfringing use. On information and belief, Intel’s customers directly

 infringe the '633 Patent by, for example, making, using, offering to sell, and selling within the

 United States, and importing into the United States, without authority or license, products

 containing the above-described Intel products.

         34.     As a result of Intel's infringement of the '633 Patent, VLSI has been damaged.

 VLSI is entitled to recover for damages sustained as a result of Intel's wrongful acts in an amount

 subject to proof at trial.

         35.     To the extent 35 U.S.C. § 287 is determined to be applicable, on information and

 belief its requirements have been satisfied with respect to the '633 Patent.

         36.     In addition, Intel's infringing acts and practices have caused and are causing

 immediate and irreparable harm to VLSI.




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        37.     VLSI is informed and believes, and thereon alleges, that the infringement of the

 '633 Patent by Intel has been and continues to be willful. As noted above, Intel has long had

 knowledge of the '633 Patent. Intel has deliberately continued to infringe in a wanton, malicious,

 and egregious manner, with reckless disregard for VLSI's patent rights. Thus, Intel's infringing

 actions have been and continue to be consciously wrongful.

        38.     VLSI is informed and believes, and thereon alleges, that this is an exceptional

 case, which warrants an award of attorney's fees to VLSI pursuant to 35 U.S.C. § 285.

                                          SECOND CLAIM

                            (Infringement of U.S. Patent No. 7,246,027)

        39.     VLSI re-alleges and incorporates herein by reference Paragraphs 1-38 of its

 Complaint.

        40.     The '027 Patent, entitled "Power optimization of a mixed-signal system on an

 integrated circuit," was duly and lawfully issued July 17, 2007. A true and correct copy of the

 '027 Patent is attached hereto as Exhibit 2.

        41.     The '027 Patent names Marcus W. May and Matthew D. Felder as co-inventors.

        42.     The '027 Patent has been in full force and effect since its issuance. VLSI owns by

 assignment the entire right, title, and interest in and to the '027 Patent, including the right to seek

 damages for past, current, and future infringement thereof.

        43.     The '027 Patent states that it "relates generally to portable electronic equipment

 and more particularly to a sensing digital and analog parameters of an integrated circuit to

 provide power supply optimization." Ex. 2 at 1:7-10.

        44.     The '027 Patent explains "a need exists for an integrated circuit that provides

 multiple functions through mixed-signal operation and architectures for handheld devices with




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 appropriate optimized power-consumption and with a minimal requirement of external

 components." Ex. 2 at 2:32-36.

        45.     The '027 Patent provides "a method and apparatus for conserving power of a

 system-on-a-chip having analog circuitry. An aspect is a method and apparatus for increasing the

 power supply efficiency of an integrated circuit, by determining an analog variation parameter

 that is representative of an integrated circuit fabrication process variance of the integrated circuit.

 An operational temperature is determined, where the operational temperature is associated with

 the analog variation parameter. With the analog variation parameter and the operational

 temperature, an adjustment signal is determined for a power supply level of the integrated circuit,

 such that power consumption of the integrated circuit is optimized." Ex. 2 at 2:40-51.

        46.     VLSI is informed and believes, and thereon alleges, that Intel has infringed and

 unless enjoined will continue to infringe one or more claims of the '027 Patent, in violation of 35

 U.S.C. § 271, by, among other things, making, using, offering to sell, and selling within the

 United States, supplying or causing to be supplied in or from the United States, and importing

 into the United States, without authority or license, Intel products with a Power Control Unit

 (PCU) to compensate for Inverse Temperature Dependence (ITD) in an infringing manner.

        47.     The '027 accused products embody every limitation of at least claim 18 of the

 '027 Patent, literally or under the doctrine of equivalents, as set forth below. The further

 descriptions below, which are based on publicly available information, are preliminary examples

 and are non-limiting.

        ["A method for increasing power supply efficiency of an integrated circuit,

        comprising:"]




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        48.     The '027 accused products use a method for increasing power supply efficiency of

 an integrated circuit. For example, the PCU of the '027 accused products is designed to maximize

 the power supply efficiency of a microprocessor by using the "optimal voltage at all operating

 points" in a manner such as that shown below.




        ["determining an analog variation parameter representative of an integrated circuit

        fabrication process variance of the integrated circuit; and"]

        49.     The '027 accused products use a method that includes determining an analog

 variation parameter representative of an integrated circuit fabrication process variance of the

 integrated circuit. For example, Intel marketing materials demonstrate that the PCU of the '027

 accused products uses thermal sensors to estimate the temperature of the coldest point on the die




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 to compensate for Inverse Temperature Dependence using a process and architecture such as that

 described below.




        ["determining an adjustment signal for a power supply voltage level of the

        integrated circuit based on the analog variation parameter, and"]

        50.      The '027 accused products use a method that includes determining an adjustment

 signal for a power supply voltage level of the integrated circuit based on the analog variation

 parameter. For example, Intel marketing materials demonstrate that the PCU interpolates linearly

 against test voltages to determine a power supply voltage level through a process that practices

 this element.




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        51.     As a further example, public statements by Intel engineers also demonstrate that

 the PCU uses thermal information to adjust the power supply voltage level: "As temperature is

 lowered, the frequency of the chip can degrade because of the ITD effect (Inverse Temperature

 Dependence). In this case, information from the thermal sensor is used to raise the supply

 voltage to maintain performance." Dr. Peter Shor, http://www.ee.columbia.edu/compact-thermal-

 sensors-intel-processors-90nm-22nm.

        ["adjusting a regulation signal of a DC-to-DC converter based on the adjustment

        signal to optimize power consumption of the integrated circuit."]

        52.     The '027 accused products use a method that includes adjusting a regulation

 signal of a DC-to-DC converter based on the adjustment signal to optimize power consumption

 of the integrated circuit. For example, Intel marketing materials show that the PCU adjusts a




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 regulation signal of a voltage regulator, a DC-to-DC converter in a manner such as that described

 below.




          53.   As a further example, Intel technical documentation such as the specification

 included below demonstrates that '027 accused products adjust a regulation signal to a DC-to-DC

 converter via interfaces such as the "processor Serial Voltage IDentification (SVID) interface."




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 https://www.intel.com/content/www/us/en/processors/core/3rd-gen-core-desktop-vol-1-

 datasheet.html at 75.

        54.     Intel has long had knowledge of the '027 Patent. For example, VLSI's predecessor

 Freescale provided notice of this patent to Intel on May 30, 2014. To the extent Intel claims it did

 not have broader actual knowledge of the '027 Patent, Intel has been willfully blind to that

 patent's existence based on, for example, its publicly-known corporate policy forbidding its

 employees from reading patents held by outside companies or individuals.

        55.     VLSI is informed and believes, and thereon alleges, that Intel actively,

 knowingly, and intentionally has induced infringement of the '027 Patent by, for example,

 controlling the design and manufacture of, offering for sale, selling, supplying, and otherwise

 providing instruction and guidance regarding the above-described products with the knowledge

 and specific intent to encourage and facilitate infringing uses of such products by its customers

 both inside and outside the United States. For example, Intel publicly provides documentation,

 including datasheets available through Intel's publicly accessible ARK service and software

 developer's manuals, instructing customers on uses of Intel's products that infringe the methods

 of the '027 Patent. See, e.g., http://ark.intel.com. On information and belief, Intel’s customers




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 directly infringe the '027 Patent by, for example, making, using, offering to sell, and selling

 within the United States, and importing into the United States, without authority or license,

 products containing the above-described Intel products.

         56.     VLSI is informed and believes, and thereon alleges, that Intel has contributed to

 the infringement by its customers of the '027 Patent by, without authority, importing, selling and

 offering to sell within the United States materials and apparatuses for practicing the claimed

 invention of the '027 Patent both inside and outside the United States. For example, the above-

 described products constitute a material part of the inventions of the '027 Patent and are not

 staple articles or commodities of commerce suitable for substantial noninfringing use. On

 information and belief, Intel knows that the above-described products constitute a material part

 of the inventions of the '027 Patent and are not staple articles or commodities of commerce

 suitable for substantial noninfringing use. On information and belief, Intel’s customers directly

 infringe the '027 Patent by, for example, making, using, offering to sell, and selling within the

 United States, and importing into the United States, without authority or license, products

 containing the above-described Intel products.

         57.     As a result of Intel's infringement of the '027 Patent, VLSI has been damaged.

 VLSI is entitled to recover for damages sustained as a result of Intel's wrongful acts in an amount

 subject to proof at trial.

         58.     To the extent 35 U.S.C. § 287 is determined to be applicable, on information and

 belief its requirements have been satisfied with respect to the '027 Patent.

         59.     In addition, Intel's infringing acts and practices have caused and are causing

 immediate and irreparable harm to VLSI.




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        60.     VLSI is informed and believes, and thereon alleges, that the infringement of the

 '027 Patent by Intel has been and continues to be willful. As noted above, Intel has long had

 knowledge of the '027 Patent. Intel has deliberately continued to infringe in a wanton, malicious,

 and egregious manner, with reckless disregard for VLSI's patent rights. Thus, Intel's infringing

 actions have been and continue to be consciously wrongful.

        61.     VLSI is informed and believes, and thereon alleges, that this is an exceptional

 case, which warrants an award of attorney's fees to VLSI pursuant to 35 U.S.C. § 285.

                                           THIRD CLAIM

                            (Infringement of U.S. Patent No. 7,247,552)

        62.     VLSI re-alleges and incorporates herein by reference Paragraphs 1-61 of its

 Complaint.

        63.     The '552 Patent, entitled "Integrated circuit having structural support for a flip-

 chip interconnect pad and method therefor," was duly and lawfully issued July 24, 2007. A true

 and correct copy of the '552 Patent is attached hereto as Exhibit 3.

        64.     The '552 Patent names Scott K. Pozder, Kevin J. Hess, Pak K. Leung, Edward O.

 Travis, Brett P. Wilkerson, David G. Wontor, and Jie-Hua Zhao as co-inventors.

        65.     The '552 Patent has been in full force and effect since its issuance. VLSI owns by

 assignment the entire right, title, and interest in and to the '552 Patent, including the right to seek

 damages for past, current, and future infringement thereof.

        66.     The '552 Patent states that it "relates to packaged semiconductors and more

 particularly to interconnect pads of integrated circuits for making electrical connection to

 underlying conductive layers." Ex. 3 at 1:18-21.




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        67.     The '552 Patent provides "a method and apparatus for providing structural support

 for interconnect pad locations in an integrated circuit (IC) by using novel layout techniques in

 the metallization and dielectric stack underlying the pad. As used herein, an interconnect pad,

 formed of metal, is placed at the surface of an integrated circuit where an electrical connection is

 made from the pad to one or more underlying interconnect layers. In a typical IC design, multiple

 interconnect layers separated by interlevel dielectrics are formed in a stack to provide the

 required interconnections between devices in the semiconductor substrate." Ex. 3 at 2:31-42.

        68.     VLSI is informed and believes, and thereon alleges, that Intel has infringed and

 unless enjoined will continue to infringe one or more claims of the '552 Patent, in violation of 35

 U.S.C. § 271, by, among other things, making, using, offering to sell, and selling within the

 United States, supplying or causing to be supplied in or from the United States, and importing

 into the United States, without authority or license, Intel products with metal dummy lines to

 reinforce regions under bond pads in an infringing manner.

        69.     The '552 accused products embody every limitation of at least claim 11 of the

 '552 Patent, literally or under the doctrine of equivalents, as set forth below. The further

 descriptions below, which are based on publicly available information, are preliminary examples

 and are non-limiting.

        ["A method of making an integrated circuit having a plurality of bond pads,

        comprising:"]

        70.     The '552 accused products are manufactured using a method of making an

 integrated circuit having a plurality of bond pads.

        71.     For example, electron micrographs of Intel products, including the i7-4770

 processor, show a plurality of bond pads:




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        ["developing a circuit design of the integrated circuit;"]

        72.     The '552 accused products are manufactured using a method that includes

 developing a circuit design of the integrated circuit.

        73.     For example, electron micrographs of Intel products, including the i7-4770

 processor, show a circuit design made up of gates and interconnecting wires:




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        ["developing a layout of the integrated circuit according to the circuit design,

        wherein the layout comprises a plurality of interconnect layers underlying a first

        bond pad of the plurality of bond pads, at least one of the plurality of interconnect

        layers not being electrically connected to the first bond pad and used for wiring or

        interconnect other than directly to the first bond pad;"]

        74.     The '552 accused products are manufactured using a method that includes

 developing a layout of the integrated circuit according to the circuit design, wherein the layout

 comprises a plurality of interconnect layers underlying a first bond pad of the plurality of bond

 pads, at least one of the plurality of interconnect layers not being electrically connected to the

 first bond pad and used for wiring or interconnect other than directly to the first bond pad.

        75.     For example, electron micrographs of Intel products, including the i7-4770

 processor, show several interconnect layers underlying the bond pads.




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        76.     Some, but not all, of the interconnects on various interconnect layers are

 electrically connected using vias to the bond pads, in such a way that practices this element.




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       ["defining a force region at least under the first bond pad of the plurality of bond

       pads, wherein the force region comprises a first portion of each of the plurality of

       interconnect layers;"]




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        77.     The '552 accused products are manufactured using a method that includes

 defining a force region at least under the first bond pad of the plurality of bond pads, wherein the

 force region comprises a first portion of each of the plurality of interconnect layers.

        78.     For example, electron micrographs of Intel products, including the i7-4770

 processor, show a region under each bond pad that represents a "force region," in a manner such

 as that shown below.




        ["identifying a first interconnect layer of the plurality of interconnect layers in

        which the first portion of the first interconnect layer has a metal density below a

        predetermined percentage;"]

        79.     The '552 accused products are manufactured using a method that includes

 identifying a first interconnect layer of the plurality of interconnect layers in which the first

 portion of the first interconnect layer has a metal density below a predetermined percentage.

        80.     For example, electron micrographs of Intel products, including the i7-4770

 processor, show that particular interconnect layers have regions where the density of actively

 used metal is low.




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         ["modifying the layout by adding dummy metal lines to the first portion of the first

         interconnect layer to increase the metal density of the first portion of the first

         interconnect layer; and"]

         81.     The '552 accused products are manufactured using a method that includes

 modifying the layout by adding dummy metal lines to the first portion of the first interconnect

 layer to increase the metal density of the first portion of the first interconnect layer.

         82.     For example, electron micrographs of Intel products, including the i7-4770

 processor, show that dummy metal lines have been added to the particular interconnect layers in

 regions where the density of actively used metal is low through a process that practices this

 element.

         ["making the integrated circuit comprising the dummy metal lines."]




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         83.     The '552 accused products are manufactured using a method that includes making

 the integrated circuit comprising the dummy metal lines. For example, the above discussion

 provides an example of how the integrated circuit comprising the dummy metal lines is made.

         84.     Intel has had knowledge of the '552 Patent at least since the filing of this

 complaint, and if it did not have actual knowledge prior to that time, it was willfully blind to the

 existence of the '552 Patent based on, for example, its publicly-known corporate policy

 forbidding its employees from reading patents held by outside companies or individuals.

         85.     As a result of Intel's infringement of the '552 Patent, VLSI has been damaged.

 VLSI is entitled to recover for damages sustained as a result of Intel's wrongful acts in an amount

 subject to proof at trial.

         86.     To the extent 35 U.S.C. § 287 is determined to be applicable, on information and

 belief its requirements have been satisfied with respect to the '552 Patent.

         87.     In addition, Intel's infringing acts and practices have caused and are causing

 immediate and irreparable harm to VLSI.

         88.     VLSI is informed and believes, and thereon alleges, that Intel's infringement of

 the '552 Patent has been and continues to be willful.

         89.     VLSI is informed and believes, and thereon alleges, that this is an exceptional

 case, which warrants an award of attorney's fees to VLSI pursuant to 35 U.S.C. § 285.

                                          FOURTH CLAIM

                              (Infringement of U.S. Patent No. 7,523,331)

         90.     VLSI re-alleges and incorporates herein by reference Paragraphs 1-89 of its

 Complaint.




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        91.     The '331 Patent, entitled "Power saving operation of an apparatus with a cache

 memory," was duly and lawfully issued April 21, 2009. A true and correct copy of the '331

 Patent is attached hereto as Exhibit 4.

        92.     The '331 Patent names Gerardus Wilhelmus Theodorus Van Der Heijden as the

 inventor.

        93.     The '331 Patent has been in full force and effect since its issuance. VLSI owns by

 assignment the entire right, title, and interest in and to the '331 Patent, including the right to seek

 damages for past, current, and future infringement thereof.

        94.     The '331 Patent "relates to an apparatus that supports a low power operating

 mode." Ex. 4 at 1:4-5.

        95.     The '331 Patent explains that "[a]mong others it is an object of the invention to

 provide a reduction of power consumption by an apparatus with a low power operating mode."

 Ex. 4 at 1:50-52.

        96.     The '331 Patent further explains that "at least part of a cache memory is

 selectively kept active in the low power mode while the main memory is deactivated

 (deactivation typically comprising cutting power supply to the main memory, or at least

 significantly reducing power supply consumption, so that the main memory is not or not fully

 operational). Prior to switching to the low power mode a program of instructions that are needed

 to perform a function while the apparatus is in the low power mode is loaded into the cache

 memory for later use. When an instruction processing circuit performs the function in the low

 power mode, it loads the instructions from the cache memory, without activating (supplying full

 power) the main memory." Ex. 4 at 1:54-66.




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        97.     VLSI is informed and believes, and thereon alleges, that Intel has infringed and

 unless enjoined will continue to infringe one or more claims of the '331 Patent, in violation of 35

 U.S.C. § 271, by, among other things, making, using, offering to sell, and selling within the

 United States, supplying or causing to be supplied in or from the United States, and importing

 into the United States, without authority or license, Intel products that include an infringing

 Management Engine and a CPU that includes a memory controller.

        98.     The '331 accused products embody every limitation of at least claim 7 of the '331

 Patent, literally or under the doctrine of equivalents, as set forth below. The further descriptions

 below, which are based on publicly available information, are preliminary examples and are non-

 limiting.

        ["A method of operating an apparatus that contains an instruction processing

        circuit, a main memory addressable by the instruction processing circuit and a

        cache memory, the method comprising:"]

        99.     The '331 accused products operate using a method of operating an apparatus that

 contains an instruction processing circuit, a main memory addressable by the instruction

 processing circuit and a cache memory.

        100.    For example, documentation written by Intel engineers explains that the

 Management Engine ("ME") "hardware is comprised of a processor, code and data caches, DMA

 (direct memory access) engines, cryptography engines, read-only memory (ROM), internal

 memory (static random-access memory, or SRAM), a timer, and other supporting devices."

 https://link.springer.com/book/10.1007%2F978-1-4302-6572-6 at 30.

        ["using the cache memory and the main memory in a normal operating mode, to

        cache in cache memory a part of data and/or instructions that the instruction




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        processing circuit addresses in the main memory during execution, and to substitute

        cached data and/or instructions when the instruction processing circuit addresses

        the data and/or instructions in the main memory;"]

        101.    The '331 accused products operate using the cache memory and the main memory

 in a normal operating mode, to cache in cache memory a part of data and/or instructions that the

 instruction processing circuit addresses in the main memory during execution, and to substitute

 cached data and/or instructions when the instruction processing circuit addresses the data and/or

 instructions in the main memory.

        102.    For example, documentation written by Intel engineers explains that "[t]here is a

 small code and data cache to help the processor reduce the number of accesses to the internal

 SRAM. The internal SRAM is the memory that stores firmware code and data at runtime. The

 capacity of SRAM varies depending on the product, but generally ranges between 256KB and

 1MB. In addition to the internal SRAM, the management engine also uses a certain amount of

 DRAM (dynamic random-access memory) from the main system memory. Code and data pages

 that are not recently accessed may be evicted from the SRAM and swapped out to the reserved

 memory. When a page is needed again, it will be swapped in to the SRAM."

 https://link.springer.com/book/10.1007%2F978-1-4302-6572-6 at 30-31.

        ["storing, in the main memory, a program of instructions for executing an interrupt

        function during operating in a low power operating mode, wherein the interrupt

        program is stored at addresses in main memory that have been selected so that all

        instructions of the interrupt program can be stored together in the cache memory;"]

        103.    The '331 accused products operate by storing, in the main memory, a program of

 instructions for executing an interrupt function during operating in a low power operating mode,




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 wherein the interrupt program is stored at addresses in main memory that have been selected so

 that all instructions of the interrupt program can be stored together in the cache memory.

        104.    For example, documentation written by Intel engineers shows that the Intel

 Management Engine uses an interrupt controller.




 https://link.springer.com/book/10.1007%2F978-1-4302-6572-6 at 30.

        105.    As explained above, the ME stores code in both internal cache as well as system

 main memory through a process that practices this element. For example, upon information and

 belief, the ME stores, in the main memory, a program of instructions for executing an interrupt

 function during operating in a low power operating mode, wherein the interrupt program is

 stored at addresses in main memory that have been selected so that all instructions of the

 interrupt program can be stored together in the cache memory.




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        ["detecting that it is no longer necessary to operate in the normal operating mode;

        switching to the low power operating mode once it is detected that it is no longer

        necessary to operate in the normal operating mode, by"]

        106.    The '331 accused products operate by detecting that it is no longer necessary to

 operate in the normal operating mode and switching to the low power operating mode once it is

 detected that it is no longer necessary to operate in the normal operating mode.

        107.    For example, Intel technical documentation explains that systems including the

 Intel Management Engine switch to ACPI system states based on detection of signals from the

 operating system, including the S5 state, in a manner such as that described below.




 https://www.intel.com/content/www/us/en/processors/core/3rd-gen-core-desktop-vol-1-

 datasheet.html at 48.

        ["loading the interrupt program into the cache memory from the main memory,

        wherein all instructions of the interrupt program are stored together in the cache

        memory;"]




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        108.   The '331 accused products operate by loading the interrupt program into the cache

 memory from the main memory, wherein all instructions of the interrupt program are stored

 together in the cache memory.

        109.   For example, documentation written by Intel engineers, including the example

 provided below, explains that the Management Engine remains on during the S5 system state,

 even though the CPU and main memory are turned off.




 https://www.intel.com/content/dam/support/us/en/documents/motherboards/desktop/db75en/sb/i

 ntel_mebx_user_guide_for_db75en.pdf at 18.




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 https://communities.intel.com/thread/110798.

        110.    Upon information and belief, the ability to run code at the ME regardless of the

 power state of main memory means that these systems function by loading the interrupt program

 into the cache memory from the main memory, wherein all instructions of the interrupt program

 are stored together in the cache memory.

        ["deactivating the main memory to reduce power consumption, but keeping active

        at least a part of the cache memory, that is needed for retrieving the interrupt

        program and for executing the interrupt function; executing the interrupt program

        from said at least part of the cache memory."]

        111.    The '331 accused products operate by deactivating the main memory to reduce

 power consumption, but keeping active at least a part of the cache memory, that is needed for

 retrieving the interrupt program and for executing the interrupt function and executing the

 interrupt program from said at least part of the cache memory.

        112.    For example, documentation written by Intel engineers explains that the S5 power

 state is a deeper power state than S4, the "Suspend to Disk" power state wherein the contents of

 main memory is flushed, and all power (including main memory) is "lost." However, upon




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 information and belief, at least a part of the cache memory must be kept active for retrieving and

 executing the interrupt function through a process that practices this element.




 https://www.intel.com/content/www/us/en/processors/core/3rd-gen-core-desktop-vol-1-

 datasheet.html at 47.




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 Id. at 48.

         113.   Intel has long had knowledge of the '331 Patent. For example, the '331 Patent has

 been cited in Intel patent prosecutions, including during the prosecution of its U.S. Patent No.

 7,523,327. To the extent Intel claims it did not have broader actual knowledge of the '331 Patent,

 Intel has been willfully blind to that patent's existence based on, for example, its publicly-known

 corporate policy forbidding its employees from reading patents held by outside companies or

 individuals.

         114.   VLSI is informed and believes, and thereon alleges, that Intel actively,

 knowingly, and intentionally has induced infringement of the '331 Patent by, for example,

 controlling the design and manufacture of, offering for sale, selling, supplying, and otherwise

 providing instruction and guidance regarding the above-described products with the knowledge

 and specific intent to encourage and facilitate infringing uses of such products by its customers

 both inside and outside the United States. For example, Intel publicly provides documentation,

 including datasheets available through Intel's publicly accessible ARK service and software




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 developer's manuals, instructing customers on uses of Intel's products that infringe the methods

 of the '331 Patent. See, e.g., http://ark.intel.com. On information and belief, Intel’s customers

 directly infringe the '331 Patent by, for example, making, using, offering to sell, and selling

 within the United States, and importing into the United States, without authority or license,

 products containing the above-described Intel products.

         115.    VLSI is informed and believes, and thereon alleges, that Intel has contributed to

 the infringement by its customers of the '331 Patent by, without authority, importing, selling and

 offering to sell within the United States materials and apparatuses for practicing the claimed

 invention of the '331 Patent both inside and outside the United States. For example, the above-

 described products constitute a material part of the inventions of the '331 Patent and are not

 staple articles or commodities of commerce suitable for substantial noninfringing use. On

 information and belief, Intel knows that the above-described products constitute a material part

 of the inventions of the '331 Patent and are not staple articles or commodities of commerce

 suitable for substantial noninfringing use. On information and belief, Intel’s customers directly

 infringe the '331 Patent by, for example, making, using, offering to sell, and selling within the

 United States, and importing into the United States, without authority or license, products

 containing the above-described Intel products.

         116.    As a result of Intel's infringement of the '331 Patent, VLSI has been damaged.

 VLSI is entitled to recover for damages sustained as a result of Intel's wrongful acts in an amount

 subject to proof at trial.

         117.    To the extent 35 U.S.C. § 287 is determined to be applicable, on information and

 belief its requirements have been satisfied with respect to the '331 Patent.




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        118.    In addition, Intel's infringing acts and practices have caused and are causing

 immediate and irreparable harm to VLSI.

        119.    VLSI is informed and believes, and thereon alleges, that the infringement of the

 '331 Patent by Intel has been and continues to be willful. As noted above, Intel has long had

 knowledge of the '331 Patent. Intel has deliberately continued to infringe in a wanton, malicious,

 and egregious manner, with reckless disregard for VLSI's patent rights. Thus, Intel's infringing

 actions have been and continue to be consciously wrongful.

        120.    VLSI is informed and believes, and thereon alleges, that this is an exceptional

 case, which warrants an award of attorney's fees to VLSI pursuant to 35 U.S.C. § 285.

                                           FIFTH CLAIM

                            (Infringement of U.S. Patent No. 8,081,026)

        121.    VLSI re-alleges and incorporates herein by reference Paragraphs 1-120 of its

 Complaint.

        122.    The '026 Patent, entitled "Method for supplying an output supply voltage to a

 power gated circuit and an integrated circuit," was duly and lawfully issued December 20, 2011.

 A true and correct copy of the '026 Patent is attached hereto as Exhibit 5.

        123.    The '026 Patent names Sergey Sofer, Eyal Melamed-Kohen, and Valery Neiman

 as co-inventors.

        124.    The '026 Patent has been in full force and effect since its issuance. VLSI owns by

 assignment the entire right, title, and interest in and to the '026 Patent, including the right to seek

 damages for past, current, and future infringement thereof.




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         125.   The '026 Patent states that it "relates to a method for supplying an output supply

 voltage to a power gated circuit and to an integrated circuit that has a power gated circuit." Ex. 5

 at 1:7-9.

         126.   The '026 Patent explains that "[i]ntegrated circuits can be required to operate at a

 certain speed and to consume up to an allowable level of current. These contradicting demands

 can reduce the yield of the manufacturing process—as some integrated circuits can be too slow

 but comply to the current consumption requirements whilst some integrated circuits will exhibit

 a too high current consumption but comply with the speed requirements." Ex. 5 at 1:34-40.

         127.   The '026 Patent further explains that "[i]n case the power gated circuit 30 has to

 be in a low power mode, also referred to as gated mode, the conductivity of the power gating

 switch can be set to a level that facilitates a power retention mode that is power efficient and

 enables memory and latch devices that belong to the power gated circuit to retain data. Retention

 mode is the low power mode when the integrated circuit does not perform any operation, and

 only retains data stored in memory or latch devices." Ex. 5 at 3:12-19.

         128.   VLSI is informed and believes, and thereon alleges, that Intel has infringed and

 unless enjoined will continue to infringe one or more claims of the '026 Patent, in violation of 35

 U.S.C. § 271, by, among other things, making, using, offering to sell, and selling within the

 United States, supplying or causing to be supplied in or from the United States, and importing

 into the United States, without authority or license, Intel products that supply an output supply

 voltage to a power gated circuit in an infringing manner.

         129.   The '026 accused products embody every limitation of at least claim 13 of the

 '026 Patent, literally or under the doctrine of equivalents, as set forth below. The further




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 descriptions below, which are based on publicly available information, are preliminary examples

 and are non-limiting.

        ["A method for supplying an output supply voltage to a power gated circuit, the

        method comprising"]

        130.    The '026 accused products use a method for supplying an output supply voltage to

 a power gated circuit.

        131.    For example, Intel marketing materials show various power gated circuits with

 independent power gates supplying output supply voltages. One example is provided below.




        ["providing to an input port of a power gating switch an input supply voltage;"]

        132.    The '026 accused products use a method that includes providing to an input port

 of a power gating switch an input supply voltage.

        133.    For example, reverse engineering of the Intel i3-6300 shows that the power gating

 switch receives an input supply voltage:




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        ["receiving, by a control circuit, a mode indicator that indicates of a desired mode of

        the power gated circuit;"]

        134.    The '026 accused products use a method that includes receiving, by a control

 circuit, a mode indicator that indicates of a desired mode of the power gated circuit.

        135.    For example, technical documentation shows that the products receive at control

 circuitry, including the PCU, a mode indicator that indicates a desired mode, such as the

 Processor IA core C6 state, in a way such as that described below.




 https://www.intel.com/content/www/us/en/processors/core/desktop-6th-gen-core-family-

 datasheet-vol-1.html at 66.

        ["receiving, by the control circuit, a leakage indicator that indicates of a leakage

        level of the power gated circuit;"]


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        136.    The '026 accused products use a method that includes receiving, by the control

 circuit, a leakage indicator that indicates of a leakage level of the power gated circuit.

        137.    For example, Intel engineers have confirmed that control circuitry, including the

 PCU, receive indication of the leakage level of the power gated circuit by a process that practices

 this element. See, e.g., http://myeventagenda.com/sessions/0B9F4191-1C29-408A-8B61-

 65D7520025A8/7/5#sessionID=155 ("Sure temperature is always there, leakage is a function of

 temperature, we calculate the leakage at run time and we do all of the optimizations based on the

 temperature and the leakage.").

        ["selecting, by the control circuit, a value of a control signal based on the mode

        indicator and on the leakage indicator; supplying the control signal to a control port

        of the power gating switch"]

        138.    The '026 accused products use a method that includes selecting, by the control of

 a control signal based on the mode indicator and on the leakage indicator, and supplying the

 control signal to a control port of the power gating switch.

        139.    For example, as discussed above, control circuitry including the PCU, receive

 both a mode indicator and a leakage indicator in a manner such as that shown below. In one

 such embodiment, this circuitry is then connected to a control port of the power gating switch

 shown here as CTR[28:0]:




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        ["providing, from an output port of the power gating switch, the output supply

        voltage to the power gated circuit; wherein a relationship between a value of the

        input supply voltage and a value of the output supply voltage is responsive to the

        value of the control signal."]

        140.    The '026 accused products use a method that includes providing, from an output

 port of the power gating switch, the output supply voltage to the power gated circuit; wherein a

 relationship between a value of the input supply voltage and a value of the output supply voltage

 is responsive to the value of the control signal.

        141.    For example, the value of the control signal determines the number of power

 gating transistors that are active, passing current from the input to the output port of the power

 gating switch. This number determines the resistance across the gate, and therefore the

 relationship between the voltage at the input and the voltage of the output, using architecture

 such as that shown below.



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        142.    Intel has long had knowledge of the '026 Patent. For example, the '026 Patent has

 been cited in Intel patent prosecutions, including during the prosecution of its U.S. Patent No.

 8,810,304. To the extent Intel claims it did not have broader actual knowledge of the '026 Patent,

 Intel has been willfully blind to that patent's existence based on, for example, its publicly-known

 corporate policy forbidding its employees from reading patents held by outside companies or

 individuals.

        143.    VLSI is informed and believes, and thereon alleges, that Intel actively,

 knowingly, and intentionally has induced infringement of the '026 Patent by, for example,

 controlling the design and manufacture of, offering for sale, selling, supplying, and otherwise

 providing instruction and guidance regarding the above-described products with the knowledge

 and specific intent to encourage and facilitate infringing uses of such products by its customers

 both inside and outside the United States. For example, Intel publicly provides documentation,

 including datasheets available through Intel's publicly accessible ARK service and software

 developer's manuals, instructing customers on uses of Intel's products that infringe the methods

 of the '026 Patent. See, e.g., http://ark.intel.com. On information and belief, Intel’s customers


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 directly infringe the '026 Patent by, for example, making, using, offering to sell, and selling

 within the United States, and importing into the United States, without authority or license,

 products containing the above-described Intel products.

         144.    VLSI is informed and believes, and thereon alleges, that Intel has contributed to

 the infringement by its customers of the '026 Patent by, without authority, importing, selling and

 offering to sell within the United States materials and apparatuses for practicing the claimed

 invention of the '026 Patent both inside and outside the United States. For example, the above-

 described products constitute a material part of the inventions of the '026 Patent and are not

 staple articles or commodities of commerce suitable for substantial noninfringing use. On

 information and belief, Intel knows that the above-described products constitute a material part

 of the inventions of the '026 Patent and are not staple articles or commodities of commerce

 suitable for substantial noninfringing use. On information and belief, Intel’s customers directly

 infringe the '026 Patent by, for example, making, using, offering to sell, and selling within the

 United States, and importing into the United States, without authority or license, products

 containing the above-described Intel products.

         145.    As a result of Intel's infringement of the '026 Patent, VLSI has been damaged.

 VLSI is entitled to recover for damages sustained as a result of Intel's wrongful acts in an amount

 subject to proof at trial.

         146.    To the extent 35 U.S.C. § 287 is determined to be applicable, on information and

 belief its requirements have been satisfied with respect to the '026 Patent.

         147.    In addition, Intel's infringing acts and practices have caused and are causing

 immediate and irreparable harm to VLSI.




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        148.     VLSI is informed and believes, and thereon alleges, that the infringement of the

 '026 Patent by Intel has been and continues to be willful. As noted above, Intel has long had

 knowledge of the '026 Patent. Intel has deliberately continued to infringe in a wanton, malicious,

 and egregious manner, with reckless disregard for VLSI's patent rights. Thus, Intel's infringing

 actions have been and continue to be consciously wrongful.

        149.     VLSI is informed and believes, and thereon alleges, that this is an exceptional

 case, which warrants an award of attorney's fees to VLSI pursuant to 35 U.S.C. § 285.

                                      PRAYER FOR RELIEF

        WHEREFORE, VLSI prays for judgment against Intel as follows:

        A.       That Intel has infringed, and unless enjoined will continue to infringe, each of the

        Asserted Patents;

        B.       That Intel has willfully infringed each of the Asserted Patents;

        C.       That Intel pay VLSI damages adequate to compensate VLSI for Intel's

        infringement of the Asserted Patents, together with interest and costs under 35 U.S.C.

        § 284;

        D.       That Intel be ordered to pay prejudgment and postjudgment interest on the

        damages assessed;

        E.       That Intel pay VLSI enhanced damages pursuant to 35 U.S.C. § 284;

        F.       That Intel be ordered to pay supplemental damages to VLSI, including interest,

        with an accounting, as needed;

        G.       That Intel be enjoined from infringing the Asserted Patents, or if its infringement

        is not enjoined, that Intel be ordered to pay ongoing royalties to VLSI for any

        postjudgment infringement of the Asserted Patents;




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         H.      That this is an exceptional case under 35 U.S.C. § 285, and that Intel pay VLSI's

         attorneys' fees and costs in this action; and

         I.      That VLSI be awarded such other and further relief, including equitable relief, as

         this Court deems just and proper.

                                    DEMAND FOR JURY TRIAL

         Pursuant to Federal Rule of Civil Procedure 38(b), VLSI hereby demands a trial by jury

 on all issues triable to a jury.



 Dated: June 28, 2018                                   Respectfully submitted,

                                                        FARNAN LLP

                                                        /s/ Brian E. Farnan
                                                        Brian E. Farnan (Bar No. 4089)
                                                        Michael J. Farnan (Bar No. 5165)
                                                        919 N. Market Street, 12th Street
                                                        Wilmington, Delaware 19801
                                                        Telephone: (302) 777-0300
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                                                        bfarnan@farnanlaw.com
                                                        mfarnan@farnanlaw.com

                                                        Attorneys for Plaintiff VLSI Technology LLC




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                                      IN THE UNITED STATES DISTRICT COURT

                                            FOR THE DISTRICT OF DELAWARE

           VLSI TECHNOLOGY LLC,                                   )
                                                                  )
                               Plaintiff,                         ) Case No. 1: 18-cv-00966-CFC
                                                                  )
                        V.                                        )
                                                                  )
           INTEL CORPORATION,                                     )
                                                                  )
                               Defendant.
                                                                  )
                                                                  )


                                             AGREED PROTECTIVE ORDER

                   To expedite the flow of discovery material, to facilitate the prompt resolution of disputes

        over confidentiality of discovery materials, to adequately protect information the parties are

        entitled to keep confidential, to ensure that only materials the parties are entitled to keep

        confidential are subject to such treatment, and to ensure that the parties are permitted reasonably

        necessary uses of such materials in preparation for and in the conduct of trial, pursuant to Fed. R.

        Civ. P. 26(c), it is hereby ORDERED THAT:

        A.         Definitions
                   1.        "Party": any party to this action, including all of its officers, directors, employees,

        consultants, retained experts, and outside counsel (and their support staff).

                   2.        "Material": all information, testimony, documents, and things produced, served, or

        otherwise provided in this action by the Parties or by non-parties.

                   3.        "CONFIDENTIAL Material": information, documents, and things the Designating

        Party believes in good faith is not generally known to others, and which the Designating Party (i)

        would not normally reveal to third parties except in confidence or has undertaken with others to

        maintain in confidence, or (ii) believes in good faith is protected by a right to privacy under

        federal or state law or any other applicable privilege or right related to confidentiality or privacy.




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        This designation includes all Material referring or relating to the foregoing, including but not

        limited to copies, summaries, and abstracts of the foregoing.

                   4.   "OUTSIDE COUNSEL EYES ONLY Material": information, documents, and

        things the Designating Party believes in good faith is not generally known to others and has

        significant competitive value such that unrestricted disclosure to others would create a substantial

        risk of serious injury, and which the Designating Party (i) would not normally reveal to third

        parties except in confidence or has undertaken with others to maintain in confidence, or (ii)

        believes in good faith is significantly sensitive and protected by a right to privacy under federal or

        state law or any other applicable privilege or right related to confidentiality or privacy. The

        designation is reserved for information that constitutes proprietary financial or technical or

        commercially sensitive competitive information that the Designating Party maintains as highly

        confidential in its business, including information obtained from a non-party pursuant to a

        Nondisclosure Agreement ("NDA"), information relating to future products, strategic plans, non-

        public financial data, documents that would reveal trade secrets, licensing documents or licensing

        communications, and settlement agreements or settlement communications, the disclosure of

        which is likely to cause harm to the competitive position of the Designating Party. This

        designation includes all Material referring or relating to the foregoing, including but not limited to

        copies, summaries, and abstracts of the foregoing.

                   5.   "OUTSIDE COUNSEL EYES ONLY - SOURCE CODE": C, C++, assembler,

        digital signal processing (DSP) programming language, firmware source code, register transfer

        language (RTL}, hardware description language (HDL), circuit simulation files, non-programing

        files that are part of the source code development suite (such as README, Release Note, log and

        input files), design files (schematics, netlists, and layout files), microcode, and/or similarly

        sensitive code or schematics (i.e., representations of any silicon mask or circuit design, diagram,

        or blueprint containing specific gate-level circuit design representations) (collectively, "Source

        Code") that the Designating Party believes in good faith is not generally known to others and has

        significant competitive value such that unrestricted disclosure to others would create a substantial

        risk of serious injury, and which the Designating Party (i) would not normally reveal to third


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        parties except in confidence or has undertaken with others to maintain in confidence, or (ii)

        believes in good faith is significantly sensitive and protected by a right to privacy under federal or

        state law or any other applicable privilege or right related to confidentiality or privacy. This

        designation includes all Material referring or relating to the foregoing, including but not limited to

        copies, summaries, and abstracts of the foregoing. Any document designated as "OUTSIDE

        COUNSEL EYES ONLY - SOURCE CODE" information is automatically designated as

        SUBJECT TO PROSECUTION BAR in Section H.

                   6.   "OUTSIDE COUNSEL EYES ONLY - PROCESS RECIPES": especially sensitive

        semiconductor fabrication processes documentation (process flow specifications, operating

        specifications, process sequence documents, die layout files, and process recipes) (collectively

        "Process Recipes") which the Designating Party believes in good faith is not generally known to

        others, which has significant competitive value such that unrestricted disclosure to others would

        create a substantial risk of serious injury, and which the Designating Party, in the ordinary course

        of business, takes precautions to protect, and, further, which the Designating Party (i) would not

        normally reveal to third parties except in confidence or has undertaken with others to maintain in

        confidence, or (ii) believes in good faith is significantly sensitive and protected by a right to

        privacy under federal or state law or any other applicable privilege or right related to

        confidentiality or privacy. This designation includes all Material referring or relating to the

        foregoing, including but not limited to copies, summaries, and abstracts of the foregoing. Intel

        states that it treats Process Recipe Material in a manner that is at least as protective as Source

        Code. Any document designated as "OUTSIDE COUNSEL EYES ONLY - PROCESS

        RECIPES" information is automatically designated as SUBJECT TO PROSECUTION BAR in

        Section H.

                   7.   "Producing Party": a Party or non-party that produces Material in this action.

                   8.   "Receiving Party": a Party that receives Material from a Producing Party.

                   9.   "Designated Material": Material that is designated "CONFIDENTIAL",

        "OUTSIDE COUNSEL EYES ONLY", "OUTSIDE COUNSEL EYES ONLY - SOURCE

        CODE" or "OUTSIDE COUNSEL EYES ONLY - PROCESS RECIPE" under this Order.



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                   10.   "Designating Party": a Party or non-party that designates Material as

        "CONFIDENTIAL", "OUTSIDE COUNSEL EYES ONLY", "OUTSIDE COUNSEL EYES

        ONLY - SOURCE CODE" or "OUTSIDE COUNSEL EYES ONLY - PROCESS RECIPE".

                   11.   "Counsel ofRecord": (i) outside counsel who appears on the pleadings as counsel

        for a Party; (ii) partners, associates, and employees of such outside counsel to whom it is

        reasonably necessary to disclose the information for this litigation, including supporting personnel

        employed by the attorneys, such as paralegals, legal translators, legal secretaries, legal clerks, and

        shorthand reporters; (iii) independent legal translators retained to translate in connection with this

        action, or independent shorthand reporters retained to record and transcribe testimony in

        connection with this action. "Counsel of Record" does not include any person who is an

        employee, director, or officer of a Party or a Party's affiliates even if that person appears on the

        pleadings as counsel for a Party.

                   12.   "Litigation Managers": an employee in a Party's legal department or intellectual

        property division whose primary responsibilities include overseeing this litigation, who is not a

        competitive decisionmaker and who is not a Board member or Board-appointed officer of that

        Party. For the avoidance of doubt, an individual is not a competitive decisionmaker solely by

        virtue of participating in the negotiation of settlement agreements. Each Party may have a

        maximum of two Litigation Managers. Either party may substitute one or more of its Litigation

        Managers with reasonable notice to the other party.

                   13.   "Outside Consultant": a person with specialized knowledge or experience in a

        matter pertinent to the action who has been retained by a Party or its Counsel of Record to serve as

        an expert witness or as a consultant in this action and who is not a current employee, officer, or

        director of a Party or of a competitor of a Party and who, at the time of retention, is not anticipated

        to become an employee, officer, or director of a Party or of a competitor of a Party.

                   14.   "Professional Vendors": persons or entities that provide litigation support services

        (e.g., photocopying, organizing, storing, or retrieval of data in any form or medium, videotaping,

        translating, designing and preparing exhibits, graphics, or demonstrations, etc.) and their

        employees and subcontractors. This definition includes a professional jury or trial consultant



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        retained in connection with this litigation and mock jurors retained by such a consultant to assist

        them in their work. Professional Vendors do not include consultants who fall within the definition

        of Outside Consultant.

        B.         Scope

                   15.     The protections conferred by this Order cover not only Designated Material (as

        defined above), but also any information copied or extracted therefrom, as well as all copies,

        excerpts, summaries, or compilations thereof. Nothing herein changes in any way the discovery

        provisions of the Federal Rules of Civil Procedure or the Court's deadlines. Identification of any

        individual pursuant to this Protective Order does not make that individual available for deposition

        or any other form of discovery outside of the restrictions and procedures of the Federal Rules of

        Civil Procedure, the rules of the United States District Court for the District of Delaware, and the

        Court's orders applicable to this case.

        C.         Access to Designated Material

                   16.     CONFIDENTIAL Material: Unless otherwise ordered by the Court or permitted

        in writing by the Designating Party, a Receiving Party may disclose any information, document, or

        thing designated "CONFIDENTIAL" only to:

                           (a)    persons who appear on the face of Designated Material as an author,

        addressee, or recipient thereof, provided, however, that no one may show Designated Material to

        an ex-employee of a Producing Party without first notifying the Producing Party and providing the

        Producing Party with an opportunity to object prior to such disclosure;

                           (b)    Counsel of Record;

                           (c)    Litigation Managers to whom disclosure is reasonably necessary for this

        litigation and who have signed the "Litigation Manager Acknowledgment and Agreement to Be

        Bound by Protective Order" attached as Exhibit C;

                           (d)    Outside Consultants of the Receiving Party to whom disclosure is

        reasonably necessary for this litigation and who have signed the "Acknowledgment and

        Agreement To Be Bound By Protective Order" attached hereto as Exhibit A and the "Certification

        Of Outside Consultant" attached hereto as Exhibit B. Disclosure may be made to such Outside



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        Consultants of the Receiving Party only pursuant to and after completion of the procedures set out

        in Section D below;

                         (e)   witnesses of the Producing Party at deposition and/or trial, provided that

        such witnesses may not retain copies of Designated Material unless permitted by other provisions

        of this Order;

                         (f)   this Court in the above-captioned civil action, the U.S. District Court for the

        Northern District of California in VLSI Technology LLC v. Intel Corp., No. 17-cv-05671-BLF

        (N.D. Cal.), and the court in any appeal from either of the foregoing actions, in each case

        including such court's personnel;

                         (g)   any designated arbitrator or mediator who is assigned to hear this matter,

        and his or her staff, who have signed the "Acknowledgment and Agreement To Be Bound By

        Protective Order" attached hereto as Exhibit A and the "Certification Of Outside Consultant"

        attached hereto as Exhibit B;

                         (h)   court reporters; and

                         (i)   Professional Vendors to which disclosure is reasonably necessary for this

        litigation and a representative of which has signed the "Acknowledgment and Agreement To Be

        Bound By Protective Order" attached hereto as Exhibit A.

                   17.   OUTSIDE COUNSEL EYES ONLY Material: Unless otherwise ordered by the
        Court or permitted in writing by the Designating Party, a Receiving Party may disclose any

        information, documents, or things designated OUTSIDE COUNSEL EYES ONLY Material only

        to the following in addition to those identified in Paragraphs 45-46 below regarding use of

        Designated Material at depositions:

                         (a)   persons who appear on the face of Designated Material as an author,

        addressee, or recipient thereof, provided, however, that no one may show Designated Material to

        an ex-employee of a Producing Party without first notifying the Producing Party and providing the

        Producing Party with an opportunity to object prior to such disclosure;

                         (b)   Counsel of Record;




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                         (c)   Outside Consultants of the Receiving Party to whom disclosure is

        reasonably necessary for this litigation and who have signed the "Acknowledgment and

        Agreement To Be Bound By Protective Order" attached hereto as Exhibit A and the "Certification

        Of Outside Consultant" attached hereto as Exhibit B. Disclosure may be made to such Outside

        Consultants of the Receiving Party only pursuant to and after completion of the procedures set out

        in Section D below;

                         (d)   this Court in the above-captioned civil action, the U.S. District Court for the

        Northern District of California in VLSI Technology LLC v. Intel Corp., No. 17-cv-05671-BLF

        (N.D. Cal.), and the court in any appeal from either of the foregoing actions, in each case

        including such court's personnel;

                         (e)   any designated arbitrator or mediator who is assigned to hear this matter,

        and his or her staff, who have signed the "Acknowledgment and Agreement To Be Bound By

        Protective Order" attached hereto as Exhibit A and the "Certification Of Outside Consultant"

        attached hereto as Exhibit B;

                         (f)   court reporters; and

                         (g)   Professional Vendors to which disclosure is reasonably necessary for this

        litigation and a representative of which has signed the "Acknowledgment and Agreement To Be

        Bound By Protective Order" attached hereto as Exhibit A.

                   18.   OUTSIDE COUNSEL EYES ONLY - SOURCE CODE Material: Unless

        otherwise ordered by the Court or permitted in writing by the Designating Party, a Receiving Party

        may disclose any information, documents, or things designated OUTSIDE COUNSEL EYES

        ONLY - SOURCE CODE Material only to the following in addition to those identified in

        Paragraphs 45-46 below regarding use of Designated Material at depositions:

                         (a)   persons who appear on the face of Designated Material as an author,

        addressee, or recipient thereof, provided, however, that no one may show Designated Material to

        an ex-employee of a Producing Party without first notifying the Producing Party and providing the

        Producing Party with an opportunity to object prior to such disclosure;

                         (b)   Counsel of Record;



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                         (c)   Outside Consultants of the Receiving Party to whom disclosure is

        reasonably necessary for this litigation and who have signed the "Acknowledgment and

        Agreement To Be Bound By Protective Order" attached hereto as Exhibit A and the "Certification

        Of Outside Consultant" attached hereto as Exhibit B. Disclosure may be made to such Outside

        Consultants of the Receiving Party only pursuant to and after completion of the procedures set out

        in Section D below;

                         (d)   this Court in the above-captioned civil action, the U.S. District Court for the

        Northern District of California in VLSI Technology LLC v. Intel Corp., No. l 7-cv-05671-BLF

        (N.D. Cal.), and the court in any appeal from either of the foregoing actions, in each case

        including such court's personnel;

                         (e)   any designated arbitrator or mediator who is assigned to hear this matter,

        and his or her staff, who have signed the "Acknowledgment and Agreement To Be Bound By

        Protective Order" attached hereto as Exhibit A and the "Certification Of Outside Consultant"

        attached hereto as Exhibit B; and

                         (f)   court reporters.

                   19.   OUTSIDE COUNSEL EYES ONLY -PROCESS RECIPE Material: Unless

        otherwise ordered by the Court or permitted in writing by the Designating Party, a Receiving Party

        may disclose any information, documents, or things designated OUTSIDE COUNSEL EYES

        ONLY - PROCESS RECIPE Material only to the following in addition to those identified in

        Paragraph 45 below regarding use of Designated Material at depositions:

                         (a)   persons who appear on the face of Designated Material as an author,

        addressee, or recipient thereof, provided, however, that no one may show Designated Material to

        an ex-employee of a Producing Party without first notifying the Producing Party and providing the

        Producing Party with an opportunity to object prior to such disclosure;

                         (b)   Counsel of Record;

                         (c)   Outside Consultants of the Receiving Party to whom disclosure is

        reasonably necessary for this litigation and who have signed the "Acknowledgment and

        Agreement To Be Bound By Protective Order" attached hereto as Exhibit A and the "Certification


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        Of Outside Process Recipe Consultant" attached hereto as Exhibit D. Disclosure may be made to

        such Outside Consultants of the Receiving Party only pursuant to and after completion of the

        procedures set out in Section D below;

                         (d)    this Court in the above-captioned civil action, the U.S. District Court for the

        Northern District of California in VLSI Technology LLC v. Intel Corp., No. 17-cv-05671-BLF

        (N.D. Cal.), and the court in any appeal from either of the foregoing actions, in each case

        including such court's personnel;

                         (e)    any designated arbitrator or mediator who is assigned to hear this matter,

        and his or her staff, who have signed the "Acknowledgment and Agreement To Be Bound By

        Protective Order" attached hereto as Exhibit A and the "Certification Of Outside Process Recipe

        Consultant" attached hereto as Exhibit D; and

                         (t)    court reporters.

                   20.   Each person to whom Designated Material may be disclosed, and who is required

        to sign the "Acknowledgment and Agreement To Be Bound By Protective Order" attached hereto

        as Exhibit A, or the "Certification Of Outside Consultant" attached hereto as Exhibit B (if

        applicable) or the "Litigation Manager Acknowledgment and Agreement to Be Bound by

        Protective Order" attached hereto as Exhibit C (if applicable) or the "Certification Of Outside

        Process Recipe Consultant" attached hereto as Exhibit D (if applicable), must do so prior to the

        time such Designated Material is disclosed to him or her. Counsel for a Party who makes any

        disclosure of Designated Material must retain each original executed certificate and, upon written

        request, must provide copies to counsel for all other Parties at the termination of this action.

                   21.   At the request of the Designating Party, persons not permitted access to Designated

        Material under the terms of this Protective Order must not be present at depositions while the

        Designating Party's Designated Material is discussed or otherwise disclosed. Pre-trial and trial

        proceedings must be conducted in a manner, subject to the supervision of the Court, to protect

        Designated Material from disclosure to persons not authorized to have access to such Material.




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        D.         Access By Outside Consultants

                   22.   Notice. If a Receiving Party wishes to disclose another Party's Designated Material

        to any Outside Consultant, such Receiving Party must provide advance written notice by email to

        counsel for the Designating Party, which notice must include: (a) the individual's name and

        business title; (b) business address; (c) business or profession; (d) the individual's CV; (e) any

        previous, current or anticipated relationship (personal or professional) with any of the Parties

        (and/or their predecessors or successors in interest) or a Party's competitor (and/or their

        predecessors or successors in interest); (f) a list of other cases in which the individual has testified

        (at trial or deposition) within the last four years; (g) an identification of all companies with which

        the individual has consulted or by which the individual has been employed within the last four

        years; 1 and (h) a signed copy of (1) the "Acknowledgment and Agreement To Be Bound By

        Protective Order" attached hereto as Exhibit A and (2) one or both of the "Certification Of Outside

        Consultant" attached hereto as Exhibit B and the "Certificate of Outside Process Recipe

        Consultant" attached hereto as Exhibit D.

                   23.   Objections. The Designating Party will have seven (7) business days from receipt

        of the notice specified in Paragraph 22 to object in writing to such disclosure. Any such objection

        must set forth in detail the grounds on which it is based. After the expiration of the 7-day period,

        if no objection has been asserted, then Designated Material may be disclosed to the Outside

        Consultant pursuant to the terms of this Order. However, if the Designating Party objects within

        the 7-day period, the Receiving Party may not disclose Designated Material to the challenged

        individual absent written resolution of the dispute or Court Order. In the event the Designating

        Party makes a timely objection, the Parties must meet and confer within three business days by

        telephone or in person to try to resolve the matter by agreement. If the Parties cannot reach an



                1 If the Outside Consultant believes any of this information is subject to a confidentiality
        obligation to a third-party, then the Outside Consultant should provide sufficient information for
        the Designating Party to determine whether it needs to object to the Outside Consultant. In all
        instances, the Outside Consultant may not omit entirely the existence of work that was performed
        pursuant to a confidentiality agreement. In addition, the Party seeking to disclose to the Outside
        Consultant shall be available to meet and confer with the Designating Party regarding any such
        engagement.


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        agreement, the objecting Party may within five (5) business days following the meet and confer
        move for a protective order preventing disclosure of Designated Material to the Outside
        Consultant or for other appropriate relief. If the objecting Party fails to move for protective order
        within the prescribed period, any objection to the Outside Consultant is waived, and Designated
        Material may thereafter be disclosed to such individual (upon signing the "Agreement To Be
        Bound By Protective Order" attached hereto as Exhibit A). If the objecting Party timely moves for
        a protective order, Designated Material must not be disclosed to the challenged individual until
        and unless a final ruling allowing such disclosure is made by this Court or by the consent of the
        objecting Party, whichever occurs first.
        E.         Production of OUTSIDE COUNSEL EYES ONLY - SOURCE CODE Material

                   24.   Unless otherwise agreed to in writing between the Producing Party and the
        Receiving Party, Source Code designated as "OUTSIDE COUNSEL EYES ONLY - SOURCE
        CODE" may only be provided on at least two stand-alone computers (that is, computers not
        connected to a network, the Internet, or any peripheral device, except that the stand-alone
        computers may be connected to a printer or printers and a monitor and will have a mouse
        connected, all other ports must be disabled) at a secure location, to be made available during
        regular business hours (9:00 a.m. to 6:00 p.m. local time) on weekdays on five (5) business days'
        notice, at Producing Party's counsel's offices in the United States ("Source Code Computers"). For
        Intel, the secure location will be the offices of WilmerHale in Los Angeles, California. The
        Receiving Party must identify in writing to the Producing Party the persons who will be
        conducting the inspection or will be present during the inspection no less than 48 hours in advance
        of any such inspection. Before being admitted into the secure location, an individual must provide
        a photo identification card issued by the United States federal government or the government of a
        state of the United States.
                   25.   The Producing Party will produce Source Code designated as "OUTSIDE
        COUNSEL EYES ONLY - SOURCE CODE" in computer searchable format and in a file
        structure and format that mirrors the file structure and format of the Source Code as maintained by
        the Producing Party in the ordinary course of business, pursuant to the provisions of Paragraph 24


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        above, but need not produce in executable format absent further written agreement of the parties or

        order of the Court. The Producing Party may monitor any review of Source Code designated as

        "OUTSIDE COUNSEL EYES ONLY - SOURCE CODE", but only as is reasonable to ensure

        compliance with this Protective Order and in a manner that will not interfere with the Receiving

        Party's confidential communications or otherwise invade the Receiving Party's attorney work

        product, and that will afford the Receiving Party adequate privacy to permit the development of

        appropriate work product. The Producing Party shall provide the Receiving Party with

        information explaining how to start, log on to, and operate the Source Code Computers in order to

        access the produced Source Code. In order to verify that its Source Code has not later been

        altered, the Producing Party may benchmark the materials to confirm that the materials have not

        been altered before and after they are provided but shall not install any keystroke or other

        monitoring software on the Source Code Computers. Each time a Producing Party makes Material

        available for review on the Source Code Computer, it shall promptly notify the Receiving Party of

        the same and provide a summary of the volume and nature of such newly available Material.

                   26.   Except as otherwise provided herein, no copies of any portion of the Source Code

        may leave the secure location in which the Source Code is inspected. Further, except as provided

        herein, no written or electronic record of the Source Code is permitted. Notwithstanding the

        foregoing, the Receiving Party may request printed copies of specific portions of Source Code

        designated as "OUTSIDE COUNSEL EYES ONLY - SOURCE CODE." Within three (3)

        business days of the printing request, the Producing Party must either (i) provide five (5) paper

        copies of Source Code designated as "OUTSIDE COUNSEL EYES ONLY - SOURCE CODE"

        including Bates numbers and appropriate confidentiality labels when printed, along with a native

        Microsoft Excel file that lists the filepath and filename, as they appear on any stand-alone

        computers, of each requested file, correlated to the beginning Bates number of the corresponding

        print-out, or, alternatively, the Producing Party may brand printouts with the filepath and filename

        of each file, as it appears on any stand-alone computer; or (ii) object that a printing request is

        excessive and/or not done for a permitted purpose. The Producing Party must retain copies of any

        portions of Source Code printed and the Receiving Party is prohibited from removing the copies


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        from the secure location. The entire code or an unreasonably large portion of the code must not be

        requested. The Receiving Party is not entitled to request copies in order to review blocks of

        Source Code designated as "OUTSIDE COUNSEL EYES ONLY - SOURCE CODE" elsewhere

        in the first instance, i.e., as an alternative to reviewing the materials electronically on the stand-

        alone computers provided by the Producing Party, as the parties acknowledge and agree that the

        purpose of the protections herein would be frustrated by printing portions of code for review and

        analysis elsewhere. Printouts of the Source Code that exceed 60 contiguous pages or 20% or more

        of a specific software release will be presumed excessive unless the Receiving Party provides a

        compelling justification that such printed portions are necessary. For example, ifthe requested

        portion of the source code comprises a complete code module that is directly relevant to the

        operation of the accused instrumentality, yet that requested portion exceeds the aforementioned

        page limits, such request may be deemed a compelling justification. If the Producing Party objects

        within three (3) business days of a printing request that the printing request is excessive and/or not

        done for a permitted purpose, the Producing Party and Receiving Party will meet and confer

        within three (3) business days of the Producing Party's objection. If the Producing Party and the

        Receiving Party cannot resolve the objection, the Receiving Party may, within three (3) business

        days after the meet and confer, seek the Court's resolution of whether the request is narrowly

        tailored for a permitted purpose. The burden will be on the Receiving Party to demonstrate that

        such portions are no more than is reasonably necessary for a permitted purpose, and not merely for

        the purpose of review and analysis in another location.

                   27.   A Receiving Party of any paper copies of any Source Code designated as

        "OUTSIDE COUNSEL EYES ONLY - SOURCE CODE" must always keep the paper copies of

        the Source Code at the office of the Receiving Party's Outside Counsel of Record, and in a locked

        storage container at the office of the Receiving Party's Outside Counsel of Record when the paper

        copies of the Source Code are not in use. Outside Consultants and experts are prohibited from

        keeping copy sets. The Receiving Party may not reproduce the paper copies of the Source Code,

        absent written agreement of the Producing Party. The Receiving Party must maintain a Source

        Code Access Log identifying, for each and every time any Source Code is viewed, accessed, or



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        analyzed: (i) the name of each person who accessed the Source Code; (ii) the date of access; and

        (iii) the location of access. The Receiving Party must produce such log to the Producing Party

        within one month of final disposition of this action or, during this action, upon seven (7) business

        days' advance notice to Receiving Party only when the Producing Party has a good faith

        reasonable basis for believing that a violation of Paragraph 27 of this Protective Order has

        occurred and explains the basis for such belief in writing at the time of the request for the log. If a

        Party has in its possession any Source Code that is owned by a third party and subject to a claim of

        confidentiality or subject to any license restriction on its distribution or release, the Party

        possessing the third party Source Code will not be required to produce such code until such time

        as the third party has been notified by the Party of the anticipated production of such code and the

        third party has had an opportunity to object to such production and to seek a protective order from

        the Court concerning the same within fifteen ( 15) days of being notified of the anticipated

        production of such code.

                   28.   Except as otherwise provided herein, no electronic devices, including but not

        limited to cellular phones, PDAs, cameras, and voice recorders will be permitted in the secure

        location. Laptops may be used during inspection of Source Code, provided any such use is

        consistent with this Protective Order (e.g., any camera or other non-permitted functionality will

        not be used). The Producing Party shall make reasonable efforts to provide the Receiving Party's

        reviewers with a "breakout room" that is separate from the room containing the Source Code

        Computers, where said Receiving Party reviewers may keep their cellular phones, etc., and have

        access to the internet. Whenever the Producing Party is unable to provide such a "breakout room,"

        the reviewers will be permitted to keep their cellular phones and other personal electronics with

        them in the secure location so long as these devices are powered down and kept in a closed

        container. The Receiving Party's source code reviewers will be entitled to take notes relating to

        the Source Code, but may not copy the Source Code into the notes. Such notes will be treated the

        same as original printouts.

                   29.   A Receiving Party that wants to use any printouts of Source Code designated as

        "OUTSIDE COUNSEL EYES ONLY - SOURCE CODE" at a deposition must notify the



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        Producing Party in writing at least five (5) calendar days before the date of the deposition about

        the specific pages the Receiving Party intends to actually use at the deposition by Bates production

        number, and the Producing Party will bring printed copies of those portions of the code to the

        deposition for use by the Receiving Party. Copies of Source Code designated as "OUTSIDE

        COUNSEL EYES ONLY - SOURCE CODE" that are marked as deposition exhibits must not be

        provided to the court reporter or attached to deposition transcripts; rather the deposition record

        will identify such an exhibit by its production numbers. All printouts of Source Code designated

        as "OUTSIDE COUNSEL EYES ONLY - SOURCE CODE" brought to a deposition must be

        collected by the Producing Party at the conclusion of the deposition. In addition (or as an

        alternative to the use of printouts at a deposition), the Producing Party shall, on request, make a

        copy of the Source Code available on a single stand-alone computer (but otherwise in the same

        format in which the source code is available under Paragraph 25 above) during depositions of

        witnesses who would otherwise be permitted access to such Source Code. The Receiving Party

        shall make such requests at least ten ( I 0) calendar days before the deposition. The Producing

        Party shall make reasonable efforts to comply with such a request made less than ten ( 10) calendar

        days before a deposition, provided the request is made in good faith and could not reasonably

        under the circumstances have been made sooner. Any deposition at which a copy of the Source

        Code is made available on a single stand alone computer shall occur at a city or metropolitan area

        mutually agreed upon by the parties. Location within the city or metropolitan area can be selected

        by the Producing Party for the purpose of efficiently setting up the stand alone computer.

                   30.   Except as provided herein, absent express written permission from the Producing

        Party, the Receiving Party may not create electronic images, or any other images, or make

        electronic copies, of the Source Code designated as "OUTSIDE COUNSEL EYES ONLY -

        SOURCE CODE" from any paper copy of the Source Code for use in any manner (including, by

        way of example only, the Receiving Party may not scan Source Code designated as "OUTSIDE

        COUNSEL EYES ONLY - SOURCE CODE" to a PDF or photograph the code). Paper copies of

        the Source Code designated as "OUTSIDE COUNSEL EYES ONLY - SOURCE CODE" also

        may not be converted by the Receiving Party into an electronic document, and may not be scanned



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        using optical character recognition ("OCR") technology. The exception to this restriction is for
        the Receiving Party's expert reports, including any rebuttal reports, and for filings with the Court
        (subject to the limitations below). To the extent it is necessary to reference Source Code in an
        expert report or other discovery document, the excerpts must be limited to the minimum amount
        necessary to support the specific argument made, but in no event may an excerpt exceed 25
        contiguous lines of code. Longer excerpts shall not be copied for use in an expert report or other
        discovery document but shall be referred to by citations to Bates Numbers and/or file names
        numbers and line numbers on the Source Code Computer. Furthermore, in order to safeguard the
        Producing Party's Source Code that may be replicated in an expert report, the parties agree that
        any copies of such reports that include any portion of the Producing Party's Source Code may not
        be transmitted electronically, but must be served by hand delivery. For avoidance of doubt, copies
        of such reports where any Source Code has been redacted or removed may be transmitted
        electronically subject, however, to the other provisions herein. Images or copies of Source Code
        designated as "OUTSIDE COUNSEL EYES ONLY - SOURCE CODE" must not be included in
        correspondence between the parties (references to production numbers must be used instead), and
        must be omitted from pleadings and other papers whenever possible. If the Receiving Party
        reasonably believes that it needs to submit a portion of Source Code designated as "OUTSIDE
        COUNSEL EYES ONLY - SOURCE CODE" as part of a filing with the Court, the parties must
        meet and confer as to how to make such a filing while protecting the confidentiality of the Source
        Code. If the parties are unable to reach agreement at the meet and confer about how such filing
        shall be made, the Receiving Party agrees that it must observe the following minimum protections
        in making the filing: (i) the Receiving Party will rely on expert declarations or other means to
        describe the relevant feature or functionality of the Source Code (including by identifying the
        corresponding production number(s) and line number(s) of the referenced Source Code), rather
        than copying portions of the Source Code into a filing, to the extent possible; (ii) if any portion of
        Source Code is included in a filing, the Receiving Party will copy the minimal amount of Source
        Code that is necessary for purposes of that filing; (iii) the filing will be made only under seal, and
        all confidential information concerning the Source Code must be redacted or removed in any


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        public versions of the filed documents; and (iv) the Receiving Party's communication and/or

        disclosure of electronic files or other materials containing any portion of Source Code in

        connection with a filing must at all times be limited solely to individuals who are expressly

        authorized to view Source Code under the provisions of this Order, and all such individuals must

        be identified on the log as reviewers and/or recipients of paper copies in accordance with

        Paragraph 27.

                   31.   The Receiving Party may request that commercially available software tools for

        viewing and searching Source Code designated as "OUTSIDE COUNSEL EYES ONLY -

        SOURCE CODE" be installed on the Source Code Computers, provided that such tools are

        reasonably necessary for the Receiving Party to perform its review of the Source Code consistent

        with the protections herein. Specific tools may include, but are not limited to, Understand,

        Notepad++, Beyond Compare, XCode tools, Slick Edit, Source-Navigator, PowerGrep,

        ExamDiftPro, Sigasi, UltraEdit, Graphviz, Eclipse, Cygwin, or other similar programs, schematic

        editors used for reviewing circuit schematics, such as L TSpice, and software programs that may be

        necessary to review RTL, HDL, and similar-type files. Other mutually agreed upon tools may be

        used. The Producing Party must attempt to install licensed copies of mutually agreed upon tools

        on the Source Code Computers, and any license or subscription fees will be paid for by the

        Receiving Party. If the Producing Party's good faith attempt to install additional software is

        successful on one of the Source Code Computers, the second stand-alone computer will be

        similarly updated within three (3) business days. The Receiving Party must provide the Producing

        Party with such licensed software tools at least five (5) business days before the date on which the

        Receiving Party wishes to have the additional software tools available for use on the Source Code

        Computer. If a mutually agreed upon software tool is available at no cost from an easily

        accessible and publicly available source, the Receiving Party must identify where the Producing

        Party may obtain the tool at least five (5) business days before the date on which it wishes to have

        the additional tool and the mutually agreed upon tool will be installed on the Source Code

        Computer by the Providing Party. Unless otherwise agreed in writing by the parties, the

        Receiving Party must not at any time use any compilers, interpreters or simulators in connection



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        with the Producing Party's Source Code designated as "OUTSIDE COUNSEL EYES ONLY -

        SOURCE CODE." The parties agree to meet and confer on any further specific format for

        reviewing the Source Code designated as "OUTSIDE COUNSEL EYES ONLY - SOURCE

        CODE," including any additional tools that may be requested. Except as otherwise provided

        herein or agreed in writing by the parties, in no event may tools be installed on the Source Code

        Computer that have the effect of altering, modifying, deleting, copying, or otherwise permitting

        the reproduction or removal of any Source Code.

        F.         Production of OUTSIDE COUNSEL EYES ONLY - PROCESS RECIPE Material
                   32.   Intel states that it treats Process Recipe Material in a manner that is at least as

        protective as Source Code. Unless otherwise agreed to in writing between the Producing Party

        and the Receiving Party, Process Recipes designated as "OUTSIDE COUNSEL EYES ONLY -

        PROCESS RECIPE" may only be provided on at least one stand-alone computer (that is, a

        computer not connected to a network, the Internet, or any peripheral device, except that the stand-

        alone computer may be connected to a printer or printers and a monitor and will have a mouse

        connected, all other ports disabled) at a secure location, to be made available during regular

        business hours (9:00 a.m. to 6:00 p.m. local time) on weekdays on five (5) business days' notice, at

        Producing Party's counsel's offices in the United States ("Process Recipe Computer"). The

        Process Recipe Computer must be distinct from any Source Code Computers. For Intel, the secure

        location will be the offices of WilmerHale in Los Angeles, California. At the option of the

        Producing Party, the secure location provided for review of "OUTSIDE COUNSEL EYES ONLY

        - PROCESS RECIPE" Material may be physically separate from the secure location provided for

        review of"OUTSIDE COUNSEL EYES ONLY -SOURCE CODE" Material. If the Producing

        Party makes the Process Recipe Computer available in the same secure location as the Source

        Code Computers, any laptop used pursuant to Paragraph 28 to take notes during the review of the

        Source Code Computers must not be used when reviewing the Process Recipe Computer. If the

        Producing Party makes the Process Recipe Computer available in the same secure location as the

        Source Code Computers, individuals who access only the Source Code Computers will not be

        deemed to have received "OUTSIDE COUNSEL EYES ONLY - PROCESS RECIPE" Material.



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        The Receiving Party must identify in writing to the Producing Party the persons who will be

        conducting the inspection or will be present during the inspection no less than 48 hours in advance

        of any such inspection. Before being admitted into the secure location, an individual must provide

        a photo identification card issued by the United States federal government or the government of a

        state of the United States.

                   33.   The Producing Party will produce Process Recipes designated as "OUTSIDE

        COUNSEL EYES ONLY - PROCESS RECIPE" in computer searchable format. The Producing

        Party may monitor any review of Process Recipes designated as "OUTSIDE COUNSEL EYES

        ONLY - PROCESS RECIPE", but only as is reasonable to ensure compliance with this Protective

        Order and in a manner that will not interfere with the Receiving Party's confidential

        communications or otherwise invade the Receiving Party's attorney work product, and that will

        afford the Receiving Party adequate privacy to permit the development of appropriate work

        product. The Producing Party shall provide the Receiving Party with information explaining how

        to start, log on to, and operate the Process Recipe Computer in order to access the produced

        Process Recipes. In order to verify that its Process Recipes have not later been altered, the

        Producing Party may benchmark the materials to confirm that the materials have not been altered

        before and after they are provided but shall not install any keystroke or other monitoring software

        on any stand-alone computers. Each time a Producing Party makes Material available for review

        on the Process Recipe Computer, it shall promptly notify the Receiving Party of the same and

        provide a summary of the volume and nature of such newly available Material.

                   34.   Except as otherwise provided herein, no copies of any portion of the Process

        Recipes may leave the secure location in which the Process Recipes are inspected. Further, except

        as provided herein, no written or electronic record of the Process Recipes is permitted.

        Notwithstanding the foregoing, the Receiving Party may request printed copies of specific

        portions of Process Recipes designated as "OUTSIDE COUNSEL EYES ONLY - PROCESS

        RECIPES." Within three (3) business days of the printing request, the Producing Party must either

        (i) provide two (2) paper color copies of Process Recipes designated as "OUTSIDE COUNSEL

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        labels when printed, as they appear on any Process Recipe Computers, of each requested file,

        correlated to the beginning Bates number of the corresponding print-out, or, alternatively, the

        Producing Party may brand printouts with the filepath and filename of each file, as it appears on

        any stand-alone computer; or (ii) object that a printing request is excessive and/or not done for a

        permitted purpose. Paper copies are restricted to what is necessary for use in preparing a filing, an

        expert report, a deposition, or a hearing. A Receiving Party must not print passages to facilitate

        review of the paper copies of Process Recipes designated as "OUTSIDE COUNSEL EYES ONLY

        - PROCESS RECIPES" away from the secure location; Process Recipes are to be reviewed and

        analyzed using the Process Recipe Computer. The Receiving Party is prohibited from removing

        the paper copies of Process Recipes designated "OUTSIDE COUNSEL EYES ONLY -

        PROCESS RECIPES" from their secure location. If the Producing Party objects within three (3)

        business days of a printing request that the printing request is excessive and/or not done for a

        permitted purpose, the Producing Party and Receiving Party will meet and confer within three (3)

        business days of the Producing Party's objection. If the Producing Party and the Receiving Party

        cannot resolve the objection, the Receiving Party may, within three (3) business days after the

        meet and confer, seek the Court's resolution of whether the request is narrowly tailored for a

        permitted purpose. The burden will be on the Receiving Party to demonstrate that such portions

        are no more than is reasonably necessary for a permitted purpose, and not merely for the purpose

        of review and analysis in another location.

                   3 5.   A Receiving Party of any paper copies of any Process Recipes designated as

        "OUTSIDE COUNSEL EYES ONLY - PROCESS RECIPES" must always keep the paper copies

        of the Process Recipes at the office of the Receiving Party's Outside Counsel of Record, and in a

        locked storage container at the office of the Receiving Party's Outside Counsel of Record when the

        paper copies of the Process Recipes are not in use. Outside Consultants and experts are prohibited

        from keeping copy sets. The Receiving Party may not reproduce the paper copies of the Process

        Recipes, absent written agreement of the Producing Party. The Receiving Party must maintain a

        Process Recipes Access Log identifying, for each and every time any Process Recipe is viewed,

        accessed, or analyzed: (i) the name of each person who accessed the Process Recipes; (ii) the date



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        of access; and (iii) the location of access. The Receiving Party must produce such log to the

        Producing Party within one month of final disposition of this action or, during this action, upon

        seven (7) business days' advance notice to Receiving Party only when the Producing Party has a

        good faith reasonable basis for believing that a violation of Paragraph 35 of this Protective Order

        has occurred and explains the basis for such belief in writing at the time of the request for the log.

        If a Party has in its possession any Process Recipes owned by a third party and subject to a claim

        of confidentiality or subject to any license restriction on its distribution or release, the Party

        possessing the third party Process Recipes will not be required to produce such Process Recipes

        until such time as the third party has been notified by the Party of the anticipated production of

        such code and the third party has had an opportunity to object to such production and to seek a

        protective order from the Court concerning the same within fifteen (15) days of being notified of

        the anticipated production of such code.

                   36.   No electronic devices, including but not limited to laptops, hard drives, thumb

        drives, mass-storage devices, floppy drives, zip drives, cellular phones, PDAs, cameras, and voice

        recorders will be permitted in the secure location with the Process Recipe Computer, except as

        provided in Paragraphs 32 and 37. Non-electronic devices capable of similar functionality are also

        prohibited, as is loose paper that could be used in a printer. Written notes relating to the Process

        Recipes may be taken only in spiral- or permanently-bound notebooks or on the provided Process

        Recipe Notetaking Computer described in Paragraph 37.

                   37.   In addition to the secure computers used for "OUTSIDE COUNSEL EYES ONLY

        - PROCESS RECIPE" Material, the Producing Party shall make available in the secure location

        with such Process Recipe Computer a reasonably modem laptop computer with no network

        connection or camera functionality (the "Process Recipe Notetaking Computer") for purposes of

        enabling the Receiving Party's Counsel of Record and/or Outside Consultants to take notes

        relating to the Process Recipes. The Process Recipe Notetaking Computer shall have pre-installed

        a commercially reasonable text editing program, Microsoft Excel or OpenOffice Cale spreadsheet

        software, and an encryption program which uses AES-256 encryption. The Receiving Party's

        Counsel of Record and/or Outside Consultants may use the computer for the purposes of taking



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        notes relating to the Process Recipes. The Reviewing Party shall, upon completion of its review,

        store its notes within an encrypted volume using AES-256 encryption, protected by at least a 20-

        character password. Upon completion of each review session, the Producing Party shall, upon

        request by the Receiving Party, provide the Receiving Party with an electronic storage medium,

        such as a USB storage device, containing the encrypted volume file with the notes taken by the

        Receiving Party. At the start of each review session, the Producing Party also shall, upon request

        by the Receiving Party, copy an updated encrypted volume file containing any revised notes taken

        by the Receiving Party, from such electronic storage medium onto the Process Recipe Notetaking

        Computer, for further editing. The Receiving Party shall maintain any notes removed from the

        secure location in the encrypted form described above at all times when storing or transmitting

        them. The Receiving Party will move the USB storage device only by hand and shall not copy the

        materials from the USB storage device onto a computer network or onto a computer that is

        connected to a computer network. These materials will be deleted from any computer prior to

        connecting that computer to a computer network. The USB storage device may be connected to a

        computer that is connected to a computer network only if that computer network is a non-public

        network with reasonable security measures (for example, a non-encrypted WiFi network would

        not be permitted, while an encrypted WiFi network with firewall and/or antivirus monitoring

        would be permitted) and if no materials from the USB storage device are copied off of the storage

        device. The Producing Party shall not monitor or review any notes taken on the Process Recipe

        Notetaking Computer, shall not receive the encryption password, and shall not interact with any

        note files on the computer in any way except to transfer the encrypted volume files, without

        reviewing their contents, to and from a USB storage medium as described above. The use of such

        computer shall not be asserted to be a waiver of any privilege or protection. The Producing Party

        will make reasonable efforts to provide the Receiving Party's Process Recipe reviewers with a

        "breakout room" that is separate from the room containing the stand-alone computer, where said

        Receiving Party Process Recipe reviewers may keep their cellular phones, etc., and have access to

        the internet. Whenever the Producing Party is unable to provide such a "breakout room," the

        reviewers will be permitted to keep their cellular phones and other personal electronics with them


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        in the secure location so long as these devices are powered down and kept in a closed container.

        The Receiving Party's Process Recipes reviewers will be entitled to take notes relating to the

        Process Recipes, but may not copy the Process Recipes into the notes. Such notes will be treated

        the same as original printouts.

                   38.   A Receiving Party that wants to use any printouts of Process Recipes designated as

        "OUTSIDE COUNSEL EYES ONLY - PROCESS RECIPE" at a deposition must notify the

        Producing Party in writing at least five (5) calendar days before the date of the deposition about

        the specific pages the Receiving Party intends to actually use at the deposition by Bates production

        number, and the Producing Party will bring printed color copies of those portions of the Process

        Recipes to the deposition for use by the Receiving Party. Copies of Process Recipes de~ignated as

        "OUTSIDE COUNSEL EYES ONLY - PROCESS RECIPES" that are marked as deposition

        exhibits must not be provided to the court reporter or attached to deposition transcripts; rather the

        deposition record will identify such an exhibit by its production numbers. All printouts of Process

        Recipes designated as "OUTSIDE COUNSEL EYES ONLY - PROCESS RECIPES" brought to a

        deposition must be collected by the Producing Party at the conclusion of the deposition. In

        addition (or as an alternative to the use of printouts at a deposition), the Producing Party shall, on

        request, make a copy of the Process Recipes available on a single stand-alone computer (but

        otherwise in the same format in which the Process Recipes are available under Paragraph 33

        above) during depositions of witnesses who would otherwise be permitted access to such Process

        Recipes. The Receiving Party shall make such requests at least ten ( I 0) calendar days before the

        deposition. The Producing Party shall make reasonable efforts to comply with such a request

        made less than ten ( I 0) calendar days before a deposition, provided the request is made in good

        faith and could not reasonably under the circumstances have been made sooner. Any deposition at

        which a copy of the Process Recipes is made available on a single stand alone computer shall

        occur at a city or metropolitan area mutually agreed upon by the parties. Location within the city

        or metropolitan area can be selected by the Producing Party for the purpose of efficiently setting

        up the stand alone computer.




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                    39.   Except as provided herein, absent express written permission from the Producing
        Party, the Receiving Party may not create electronic images, or any other images, or make
        electronic copies, Process Recipes designated as "OUTSIDE COUNSEL EYES ONLY -
        PROCESS RECIPES" from any paper copy Process Recipes for use in any manner (including, by
        way of example only, the Receiving Party may not scan Process Recipes designated as "OUTSIDE
        COUNSEL EYES ONLY - PROCESS RECIPES" to a PDF or photograph the Process Recipes).
        Paper copies of the Process Recipes designated as "OUTSIDE COUNSEL EYES ONLY -
        PROCESS RECIPES" also may not be converted by the Receiving Party into an electronic
        document, and may not be scanned using optical character recognition ("OCR") technology. The
        exception to this restriction is for the Receiving Party's expert reports, including any rebuttal
        reports, and for filings with the Court (subject to the limitations below). To the extent it is
        necessary to reference Process Recipes in an expert report or other discovery document, the
        excerpts must be limited to the minimum amount necessary to support the specific argument
        made, but in no event may an excerpt exceed 25 contiguous lines of a process recipe document.
        Longer excerpts shall not be copied for use in an expert report or other discovery document but
        shall be referred to by citations to Bates Numbers and/or file names and page numbers or row and
        column numbers on the Process Recipe Computer. Furthermore, in order to safeguard the
        Producing Party's Process Recipes that may be replicated in an expert report, the parties agree that
        any copies reports that include any portion of the Producing Party's Process Recipes may not be
        transmitted electronically, but must be served by hand delivery. For avoidance of doubt, copies of
        such reports where any Process Recipes has been redacted or removed may be transmitted
        electronically subject, however, to the other provisions herein. Images or copies of Process
        Recipes designated as "OUTSIDE COUNSEL EYES ONLY - PROCESS REGIPE" must not be
        included in correspondence between the parties (references to production numbers must be used
        instead), and must be omitted from pleadings and other papers whenever possible. If the
        Receiving Party reasonably believes that it needs to submit a portion of Process Recipes
        designated as "OUTSIDE COUNSEL EYES ONLY -PROCESS RECIPES" as part ofa filing
        with the Court, the parties must meet and confer as to how to make such a filing while protecting


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        the confidentiality of the Process Recipes. If the parties are unable to reach agreement at the meet

        and confer about how such filing shall be made, the Receiving Party agrees that it must observe

        the following minimum protections in making the filing: (i) the Receiving Party will rely on expert

        declarations or other means to describe the relevant feature or functionality of the Process Recipes

        (including by identifying the corresponding production number(s) and/or file names and page

         numbers or row and column numbers of the referenced Process Recipes), rather than copying

         portions of the Process Recipes into a filing, to the extent possible; (ii) if any portion of Process

         Recipes is included in a filing, the Receiving Party will copy the minimal amount of Process

         Recipes that is necessary for purposes of that filing; (iii) the filing will be made only under seal,

        and all confidential information concerning the Process Recipes must be redacted or removed in

        any public versions of the filed documents; and (iv) the Receiving Party's communication and/or

        disclosure of electronic files or other materials containing any portion of Process Recipes in

        connection with a filing must at all times be limited solely to individuals who are expressly

        authorized to view Process Recipes under the provisions of this Order, and all such individuals

        must be identified on the log as reviewers and/or recipients of paper copies in accordance with

        Paragraph 35.

        G.          Financial Summaries
                    40.   In satisfaction of its discovery obligations or otherwise, Intel may generate certain

        financial summaries for the purpose of this litigation. Intel may produce such financial summaries

         in native form (i.e., Excel, CSV, or similar database or delimited form). The original and any

        copies of such financial summaries must at all times be stored in an encrypted container using

        256-bit Advanced Encryption Standard (AES-256) encryption and having a passphrase of at least

        20 characters in length. Absent Intel's written permission, such financial summaries shall not be

        transmitted over the Internet.

        H.          Prosecution Bar
                    41.   A Producing Party may designate and label Material as "SUBJECT TO

        PROSECUTION BAR" if (i) it is also appropriately labeled "OUTSIDE COUNSEL EYES

        ONLY" or "OUTSIDE COUNSEL EYES ONLY - SOURCE CODE" or "OUTSIDE COUNSEL



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         EYES ONLY - PROCESS RECIPES" and (ii) it discloses confidential technical information.

         Unless otherwise agreed to in writing by the Producing Party, any individual (including, but not

         limited to, experts, consultants, or attorneys) who personally receives any Material designated

         "SUBJECT TO PROSECUTION BAR" and labeled as such at the time of receipt must not be

         involved in the prosecution of patents or patent applications before any foreign or domestic

         agency, including the United States Patent and Trademark Office, specifically directed to (a) on-

        chip communications fabrics and distributed access controls using such fabrics; (b) dynamically

        adjusting voltage based on one or more measurements related to at least one variation parameter;

        (c) increasing the metal density of die interconnect layers using dummy materials; (d) using on-

        chip cache memory to store and execute instructions while a main memory is deactivated; and (e)

        modulating a power gate based on a measurement of leakage, from the time of receipt of such

        Material through one (I) year after final and non-appealable termination of this litigation.

        Notwithstanding the foregoing, if an individual has not had access to Material designated

         "SUBJECT TO PROSECUTION BAR" for one (I) year and the individual is no longer

        performing work for the Producing Party or the Receiving Party, the individual is no longer

        subject to the prosecution bar. For purposes of this paragraph, "prosecution" means directly or

        indirectly drafting, amending, or advising on the drafting or amending of claims in connection

        with original prosecution, reissue, reexamination, inter partes review proceedings, or other

        domestic or foreign post-grant review proceedings. Notwithstanding the foregoing, the Receiving

        Party's Outside Counsel of Record that is permitted to receive and does receive Material

        designated "SUBJECT TO PROSECUTION BAR" may be involved in domestic or foreign post-

        grant patent prosecution (e.g., inter partes review, reexamination, nullity proceedings, etc.)

        provided, however, such counsel is prohibited from directly or indirectly drafting, amending, or

        advising on the drafting or amending of claims in connection with such post-grant patent

        prosecution. To avoid any doubt, "prosecution" as used in this paragraph does not include

        representing a party challenging a patent before a domestic or foreign agency (including, but not

        limited to, a reissue protest, ex parte reexamination or inter partes review).




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        I.         Development Bar

                   42.   Outside Consultants who personally receive any Material designated "OUTSIDE

        COUNSEL EYES ONLY -PROCESS RECIPE" Material from Intel must execute the

        "Certification of Outside Process Recipe Consultant" attached as Exhibit D in which they agree

        not to perform product development work for commercial purposes that is directed to structures

        and methods for the manufacturing and packaging of silicon layers, interconnect layers, and bond

        pads in computer chips, including, and not limited to, increasing the metal density of die

        interconnect layers using dummy materials, until one year following the final termination of this

        action (including any appeals).

        J.         Use of Designated Material

                   43.   Use Of Designated Material By Receiving Party. Unless otherwise ordered by

        the Court or agreed to in writing by the Designating Party, Designated Material and all

        information derived therefrom may be used by the Receiving Party only for purposes of ( 1) the

        above-captioned civil action and any appeals therefrom, and (2) VLSI Technology LLC v. Intel

        Corp., No. 17-cv-05671-BLF (N.D. Cal.) and any appeals therefrom (except with respect to
        Designated Material in deposition transcripts, for which any potential cross-use under this subpart

        (2) will be addressed on an as-requested basis), and must not be used in any other way whatsoever.

        The Parties will negotiate in good faith regarding any requested cross-use of specific Designated

        Material in deposition transcripts under subpart (2) above, and the Receiving Party may move this

        Court to seek permission for such requested cross-use if the Parties are unable to reach agreement,

        which motion the Producing Party may oppose. Information contained or reflected in Designated

        Material must not be disclosed in conversations, presentations (by Parties, Counsel of Record,

        Professional Vendors, Outside Consultants, or otherwise), in court, or in other settings that might

        reveal Designated Material, except in accordance with the terms of this Order.

                   44.   Use Of Designated Material By Designating Party. Nothing in this Order limits

        any Designating Party's use of its own documents and information, nor prevents the Designating

        Party from disclosing its own confidential information, documents, or things to any person. Such

        disclosure does not affect any designations made pursuant to the terms of this Order, so long as the


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        disclosure is made in a manner that is reasonably calculated to maintain the confidentiality of the
         information.
                   45.   Use Of Designated Material at Depositions. Except as may be otherwise ordered

         by the Court, any person may be examined as a witness at depositions and trial and may testify
        concerning all Designated Material of which that person has prior knowledge. In addition:
                         (a)    a present director, officer, employee, designated Rule 30(b)(6) witness,
        and/or Outside Consultant of a Producing Party may be examined and may testify concerning all
         Designated Material that has been produced by that Party.
                         (b)   a former director, officer, agent, and/or employee of a Producing Party may
         be interviewed, may be examined, and may testify concerning all Designated Material of which he
        or she has prior knowledge, including any Designated Material that refers to matters of which the
        witness has personal knowledge that has been produced by that Party and that pertains to the
        period or periods of his or her prior employment with the Party; and
                         (c)    non-parties may be examined or testify concerning any document
        containing Designated Material of a Producing Party that appears on its face or from other
        documents or testimony to have been received from or communicated to the non-party as a result
        of any contact or relationship with the Producing Party, or a representative of such Producing
        Party. Any person other than the witness, his or her attorney(s}, and any person qualified to
        receive Designated Material under this Order must be excluded from the portion of the
        examination concerning such information, unless the Producing Party consents to persons other
        than qualified recipients being present at the examination. If the witness is represented by an
        attorney who is not qualified under this Order to receive such information, then prior to the
        examination, the attorney must be requested to execute the "Acknowledgment and Agreement To
        Be Bound By Protective Order" attached hereto as Exhibit A, which requires the attorney to
        maintain the confidentiality of Designated Material disclosed during the course of the
        examination. In the event that such attorney declines to sign such an agreement, such attorney
        cannot be shown Designated Material and cannot be present during questioning relating to the
        Designated Material.


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                   46.   A witness who previously had access to a document designated

         "CONFIDENTIAL", "OUTSIDE COUNSEL EYES ONLY" or "OUTSIDE COUNSEL EYES

        ONLY - SOURCE CODE" but who is not under a present non-disclosure agreement with the

        Producing Party that covers that document, may be shown the document if the witness is advised

        on the record of the existence of the Protective Order and that the Protective Order requires the

        Parties to keep confidential any questions, testimony, or documents that are designated as

         "CONFIDENTIAL", "OUTSIDE COUNSEL EYES ONLY", or "OUTSIDE COUNSEL EYES

        ONLY - SOURCE CODE." The witness may not copy, take notes on, or retain copies of any

        Designated Material used or reviewed at the deposition. The witness may not take out of the

        deposition room any exhibit that is marked "CONFIDENTIAL", "OUTSIDE COUNSEL EYES

        ONLY" or "OUTSIDE COUNSEL EYES ONLY - SOURCE CODE." The Producing Party of

        any Designated Material used at the deposition may also require that the transcript and exhibits not

        be copied by the witness or his counsel, that no notes may be made of the transcript or the

        exhibits, and that the transcript and exhibits may only be reviewed by the witness in the offices of

        one of the counsel representing a Party in this case (or in the offices of another firm acting for one

        of the counsel representing a Party in this case and under the supervision of one of the attorneys

        who is bound by the terms of this Order).

        K.         Procedure for Designating Material
                   47.   Subject to the limitations set forth in this Order, a Designating Party may designate

        as "CONFIDENTIAL" information the Designating Party believes in good faith meets the

        definition set forth in Paragraph 3, above. A Designating Party may designate as "OUTSIDE

        COUNSEL EYES ONLY" information the Designating Party believes in good faith meets the

        definition set forth in Paragraph 4, above. A Designating Party may designate as "OUTSIDE

        COUNSEL EYES ONLY - SOURCE CODE" information the Designating Party believes in good

        faith meets the definition set forth in Paragraph 5, above. A Designating Party may designate as

        "OUTSIDE COUNSEL EYES ONLY - PROCESS RECIPE" information the Designating Party

        believes in good faith meets the definition set forth in Paragraph 6, above. A Designating Party




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        may designate as "SUBJECT TO PROSECUTION BAR" information the Designating Party

        believes in good faith meets the definition set forth in Paragraph 41, above.

                    48.   Except as provided above in Section E with respect to "OUTSIDE COUNSEL

        EYES ONLY - SOURCE CODE" and Section F with respect to "OUTSIDE COUNSEL EYES

        ONLY - PROCESS RECIPE", any Material (including physical objects) made available by a

        Producing Party for initial inspection by counsel for the Receiving Party prior to producing copies

        of selected items will be subject to this Order and must initially be considered, as a whole, to

        constitute "OUTSIDE COUNSEL EYES ONLY". The Producing Party will have ten (10)

        calendar days from the inspection to review and designate the appropriate documents as

        "CONFIDENTIAL" or "OUTSIDE COUNSEL EYES ONLY" prior to furnishing copies to the

        Receiving Party.

                    49.   Except as otherwise provided in this Order or as otherwise stipulated or ordered,

        Material that qualifies for protection under this Order must be designated in accordance with this

        Section K before the Material is disclosed or produced.

                    50.   Designation in conformity with this Order requires:

                          (a)    For information in documentary form (apart from transcripts of depositions

        or other pretrial or trial proceedings), the Producing Party must, for each document that contains

        Designated Material, affix the label "CONFIDENTIAL", "OUTSIDE COUNSEL EYES ONLY",

        "OUTSIDE COUNSEL EYES ONLY - SOURCE CODE" or "OUTSIDE COUNSEL EYES

        ONLY - PROCESS RECIPE" and, if appropriate, "SUBJECT TO PROSECUTION BAR", on

        each page of the document.

                          (b)    For testimony given in deposition or in other pretrial or trial proceedings,

        the Designating Party must specify any portions of the testimony that it wishes to designate as

        "CONFIDENTIAL", "OUTSIDE COUNSEL EYES ONLY", "OUTSIDE COUNSEL EYES

        ONLY - SOURCE CODE" or "OUTSIDE COUNSEL EYES ONLY - PROCESS RECIPE" and,

        if appropriate, "SUBJECT TO PROSECUTION BAR". In the case of depositions, the Designating

        Party may also designate any portion of a deposition transcript as "CONFIDENTIAL",

        "OUTSIDE COUNSEL EYES ONLY," "OUTSIDE COUNSEL EYES ONLY - SOURCE



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        CODE," "OUTSIDE COUNSEL EYES ONLY - PROCESS RECIPE," and, if appropriate,

         "SUBJECT TO PROSECUTION BAR", by informing the reporter and the opposing party in

        writing within thirty (30) calendar days ofreceipt of the deposition transcript of the designations

        to be applied. All deposition transcripts not marked during the deposition will nonetheless be

        treated as "OUTSIDE COUNSEL EYES ONLY" until the thirty (30) day period has expired. The

         entire transcript of a deposition at which "OUTSIDE COUNSEL ONLY - SOURCE CODE" or

         "OUTSIDE COUNSEL EYES ONLY - PROCESS RECIPE" Material was disclosed will be

        treated as "OUTSIDE COUNSEL EYES ONLY - SOURCE CODE" or "OUTSIDE COUNSEL

        EYES ONLY - PROCESS RECIPE" until the thirty-day period has expired. Transcript pages

         containing Designated Material must be separately bound by the court reporter, who must affix to

        the top of each such page the legend "CONFIDENTIAL", "OUTSIDE COUNSEL EYES ONLY"

        or "OUTSIDE COUNSEL EYES ONLY - SOURCE CODE", or "OUTSIDE COUNSEL EYES

        ONLY - PROCESS RECIPE" as instructed by the Designating Party. Subject to the Court's

         preferences, the parties will work together to make arrangements for making such designations to

        exhibits, testimony, and other Material used during hearings, pre-trial proceedings, and during the

        trial of this case.

                          (c)    For information produced in a form other than documentary, and for any

        other tangible items, the Producing Party must affix in a prominent place on the exterior of the

        container or containers in which the information or thing is stored the label "CONFIDENTIAL",

         "OUTSIDE COUNSEL EYES ONLY", "OUTSIDE COUNSEL EYES ONLY - SOURCE

        CODE" or "OUTSIDE COUNSEL EYES ONLY - PROCESS RECIPE" and, if appropriate,

        "SUBJECT TO PROSECUTION BAR".

        L.          No Waiver of Privilege
                    51.   The production or disclosure of documents or information subject to the attorney-

        client privilege, work product immunity or any other applicable privilege will not constitute a

        waiver of, nor a prejudice to, any claim that such or related material is privileged, or protected by

        the work product immunity or any other applicable privilege, provided that the Producing Party

        notifies the Receiving Party in writing after discovery of such production or disclosure. The



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        Parties agree that absent compelling evidence to the contrary, the Parties have taken reasonable

        steps to prevent disclosure; therefore, if privileged documents are disclosed, the disclosure will be

        deemed inadvertent. Such produced or disclosed documents or information, including all copies

        thereof distributed to others (e.g., experts, consultants, vendors) must be returned to the Producing

        Party immediately upon request, and the Receiving Party must immediately destroy any notes or

        other writing or recordings that summarize, reflect, or discuss the specific content of such

        privileged documents. No use may be made of such documents or information, including at

        deposition or at trial, nor may such documents or information be shown to anyone who has not

        already been given access to them subsequent to the request that they be returned. The Receiving

         Party may move the Court for an Order compelling production of any such produced or disclosed

        document or information, but the motion may not assert as a ground for production the fact of the

        production or disclosure, nor may the motion disclose specific content or otherwise use the

        specific content of the produced document or information in any way in connection with any such

        motion.

        M.         Failure to Designate

                   52.   A failure to designate qualified information, documents, or things as

        "CONFIDENTIAL", "OUTSIDE COUNSEL EYES ONLY", "OUTSIDE COUNSEL EYES

        ONLY - SOURCE CODE", "OUTSIDE COUNSEL EYES ONLY - PROCESS RECIPE", or

        "SUBJECT TO PROSECUTION BAR" does not, standing alone, waive the Designating Party's

        right to secure protection under this Order for such Material. Upon discovery of an inadvertent

        failure to designate, a Producing Party may notify the Receiving Party in writing that the Material

         is to be designated as "CONFIDENTIAL", "OUTSIDE COUNSEL EYES ONLY", "OUTSIDE

        COUNSEL EYES ONLY - SOURCE CODE", "OUTSIDE COUNSEL EYES ONLY -

        PROCESS RECIPE" and, if appropriate, "SUBJECT TO PROSECUTION BAR". Upon receipt of

        such notice, the Receiving Party must make all reasonable efforts to ensure that the Material is

        treated in accordance with the terms of this Order, subject to the right to challenge the propriety of

        such designation(s). The Producing Party must provide substitute copies of documents bearing the

        confidentiality designation. Any Receiving Party must also make all reasonable efforts to retrieve



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        any documents from anyone who had received the documents prior to the notification to the
        Receiving Party of the inadvertent failure to designate and who is no longer permitted to access
        the documents under the new designation.
        N.         Filing Designated Material
                   53.   Designated Material shall be filed under seal in conformance with the Court's rules
        and procedures.
        0.         Challenges to Confidentiality Designations
                   54.   The Parties will use reasonable care when designating documents or information as
         "CONFIDENTIAL", "OUTSIDE COUNSEL EYES ONLY", "OUTSIDE COUNSEL EYES
        ONLY - SOURCE CODE", "OUTSIDE COUNSEL EYES ONLY - PROCESS RECIPE" and/or
         "SUBJECT TO PROSECUTION BAR." Nothing in this Order prevents a Receiving Party from
        contending that any or all information, documents, or things designated as "CONFIDENTIAL"
        Material, "OUTSIDE COUNSEL EYES ONLY" Material, "OUTSIDE COUNSEL EYES ONLY
        - SOURCE CODE" Material, "OUTSIDE COUNSEL EYES ONLY - PROCESS RECIPE"
        Material and/or "SUBJECT TO PROSECUTION BAR" Material have been improperly
        designated. A Receiving Party may at any time request that the Producing Party cancel or modify
        the confidentiality designation with respect to any document or information contained therein,
        subject to the procedure in Paragraph 55.
                   55.   A Party is not obligated to challenge the propriety of a "CONFIDENTIAL",
        "OUTSIDE COUNSEL EYES ONLY", "OUTSIDE COUNSEL EYES ONLY - SOURCE
        CODE", "OUTSIDE COUNSEL EYES ONLY - PROCESS RECIPE" and/or "SUBJECT TO
        PROSECUTION BAR" designation at the time made, and the failure to do so does not preclude a
        subsequent challenge thereto. Such a challenge must be written, must be served on counsel for the
        Producing Party, and must particularly identify by Bates number and set forth for each such
        document the specific reason the Receiving Party believes the designation is improper for the
        document that the Receiving Party contends should be designated differently. If a Receiving Party
        challenges a confidentiality designation of a Producing Party, the Receiving Party will treat the
        document(s) subject to the challenge according to the terms of the Producing Party's original


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        confidentiality designation until the challenge is resolved. The Parties must use their best efforts
        to resolve such disputes promptly and informally. If agreement cannot be reached after informal
        negotiation, the Parties must meet and confer by telephone (voice mail messages are insufficient)
        or in person prior to filing any motion. The Receiving Party may request that the Court cancel or
        modify a "CONFIDENTIAL", "OUTSIDE COUNSEL EYES ONLY", "OUTSIDE COUNSEL
        EYES ONLY - SOURCE CODE", "OUTSIDE COUNSEL EYES ONLY - PROCESS RECIPE"
        and/or "SUBJECT TO PROSECUTION BAR" designation. Until the Court rules on the challenge,
        all parties shall continue to afford the Material in question the level of protection to which it is
        entitled under the Designating Party's designation.
        P.         Other Proceedings
                   56.   By entering this Order and limiting the disclosure of information in this case, the
        Court does not intend to preclude another court from finding that information may be relevant and
        subject to disclosure in another case. Any person or party subject to this Order who becomes
        subject to a motion to disclose another party's information designated "CONFIDENTIAL",
        "OUTSIDE COUNSEL EYES ONLY", "OUTSIDE COUNSEL EYES ONLY - SOURCE
        CODE" or "OUTSIDE COUNSEL EYES ONLY - PROCESS RECIPE" pursuant to this Order
        must promptly notify that party of the motion so that the party may have an opportunity to appear
        and be heard on whether that information should be disclosed.
                   57.   Specifically, if a Receiving Party is served with a subpoena or a court order that
        would compel disclosure of any information, documents, or things designated in this action as
        "CONFIDENTIAL", "OUTSIDE COUNSEL EYES ONLY", "OUTSIDE COUNSEL EYES
        ONLY - SOURCE CODE", or "OUTSIDE COUNSEL EYES ONLY - PROCESS RECIPE" the
        Receiving Party must so notify the Designating Party in writing (by email or courier such as
        FedEx) as soon as reasonably possible and in any event, before any compliance under such
        subpoena or Court order is requested or required. Such notification must include a copy of the
        subpoena or order. The Receiving Party also must immediately inform in writing the party who
        caused the subpoena or order to issue that some or all of the Material covered by the subpoena or
        order is the subject of this Protective Order. In addition, the Receiving Party must deliver a copy


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        of this Protective Order promptly to the party in the other action that caused the subpoena or order

        to issue. The purpose of imposing these duties is to alert the interested parties to the existence of

        this Protective Order and to afford the Designating Party in this case an opportunity to protect its

        confidentiality interests in the court from which the subpoena or order issued. The Designating

        Party must bear the burdens and the expenses of seeking protection in that court of its Designated

        Material. Nothing in these provisions should be construed as authorizing or encouraging a

        Receiving Party in this action to disobey a lawful directive from another court.

        Q.         Unauthorized Disclosure of Designated Material

                   58.   If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed

        Designated Material to any person or in any circumstance not authorized under this Order, the

        Receiving Party must immediately (i) notify in writing the Designating Party of the unauthorized

        disclosures, (ii) use its best efforts to retrieve all copies of the Designated Material, (iii) inform the

        person or persons to whom unauthorized disclosures were made of all the terms of this Order, and

        (iv) request such person or persons to execute the "Acknowledgment and Agreement to Be

        Bound" attached hereto as Exhibit A.

        R.         Export Control of Designated Material

                   59.   A Receiving Party may not transmit or transport or communicate Designated

        Material designated as "CONFIDENTIAL", "OUTSIDE COUNSEL EYES ONLY", "OUTSIDE

        COUNSEL EYES ONLY - SOURCE CODE", and/or "OUTSIDE COUNSEL EYES ONLY -

        PROCESS RECIPE" to any person, location, or vendor outside of the United States, without the

        written agreement of the Producing Party or an order of the Court. This provision is not intended

        to prevent the Receiving Party's Counsel of Record from transporting Designated Material abroad

        for use in depositions (or the foreign equivalent) or related proceedings provided, however, that:

        (i) use in any foreign deposition(s) is otherwise consistent with the provisions of this Protective

        Order; (ii) Counsel of Record undertakes reasonable precautions at all times to ensure the security

        of Designated Material when being transported and used abroad; and (iii) any material transported

        outside of the United States for depositions must be securely transported back United States after




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        the deposition is complete or provided to counsel for the Producing Party conclusion of the

        deposition.

        S.         Non-Party Use of This Protective Order
                   60.   A non-party producing information or Material voluntarily or pursuant to a

        subpoena or a court order may designate such Material or information in the same manner and will

        receive the same level of protection under this Protective Order as any Party to this lawsuit. Non-

        parties must use reasonable care when designating documents or information as

         "CONFIDENTIAL", "OUTSIDE COUNSEL EYES ONLY", "OUTSIDE COUNSEL EYES

        ONLY - SOURCE CODE", "OUTSIDE COUNSEL EYES ONLY - PROCESS RECIPE" and/or

         "SUBJECT TO PROSECUTION BAR". Nothing in this Order prevents a Receiving Party from

        contending that any or all information, documents, or things designated as "CONFIDENTIAL"

        Material, "OUTSIDE COUNSEL EYES ONLY" Material, "OUTSIDE COUNSEL EYES ONLY

        - SOURCE CODE" Material, "OUTSIDE COUNSEL EYES ONLY - PROCESS RECIPE"

        Material and/or "SUBJECT TO PROSECUTION BAR" Material have been improperly

        designated. The procedure for challenging a nonparty's confidentiality designations will be the

        same procedure as set forth in Section 0, above.

                   61.   A non-party's use of this Protective Order to protect its "CONFIDENTIAL"

        Material, "OUTSIDE COUNSEL EYES ONLY" Material, "OUTSIDE COUNSEL EYES ONLY

        - SOURCE CODE" Material or "OUTSIDE COUNSEL EYES ONLY - PROCESS RECIPE"

        Material does not entitle that non-party access to "CONFIDENTIAL" Material, "OUTSIDE

        COUNSEL EYES ONLY" Material, "OUTSIDE COUNSEL EYES ONLY - SOURCE CODE"

        Material or "OUTSIDE COUNSEL EYES ONLY - PROCESS RECIPE" Material produced by

        any Party in this case.

        T.         Duration
                   62.   Even after the termination of this action, the confidentiality obligations imposed by

        this Order will remain in effect until a Designating Party agrees otherwise in writing or a court

        order otherwise directs.




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        U.         Final Disposition

                   63.    Unless otherwise ordered or agreed in writing by the Producing Party, within sixty

        (60) calendar days after the final disposition of this action, each Receiving Party must destroy or

        return all Designated Material to the Producing Party. As used in this paragraph, "all Designated

        Material" includes all copies, abstracts, compilations, summaries, or any other form of

         reproducing or capturing any of the Designated Material. The Receiving Party must submit a

        written confirmation of the return or destruction to the Producing Party (and, if not the same

        person or entity, to the Designating Party) by the 60-day deadline. Notwithstanding this provision,

        Counsel of Record may retain an archival copy of all pleadings, motion papers, briefs and

        supporting materials, deposition transcripts (including exhibits), transcripts of other proceedings

        (including exhibits), written discovery requests and responses, any documents or materials filed or

        used in court, exhibits offered or introduced into evidence at trial, legal memoranda,

        correspondence, or attorney work product, even if such materials contain Designated Material.

        Counsel of Record may also retain an archival copy of attorney work product found in e-mail.

        Counsel of Record must make best efforts to delete all other e-mail that contains Designated

        Material.

        V.         Miscellaneous

                   64.   Any of the notice requirements herein may be waived, in whole or in part, but only

        by a writing voluntarily and explicitly agreeing to such waiver signed by the Counsel of Record

        for the Party against whom such waiver will be effective.

                   65.   This Order is entered without prejudice to the right of any Party to apply to the

        Court at any time for additional protection or to relax or rescind the restrictions of this Order,

        when convenience or necessity requires. No Party waives any right it otherwise would have to

        object to disclosing or producing any information, documents, or things on any ground not

        addressed in this Protective Order. Similarly, no Party waives any right to object on any ground to

        the use in evidence of any of the Material covered by this Protective Order. The Court will take

        appropriate measures to protect Designated Material at trial and any hearing in this case.




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                   66.   This Order does not diminish any existing obligation or right with respect to
         Designated Material, nor does it prevent a disclosure to which the Designating Party consents in
        writing before the disclosure takes place.
                   67.   The United States District Court for the District of Delaware is responsible for the
         interpretation and enforcement of this Protective Order. All disputes concerning Designated
         Material produced under the protection of this Protective Order will be resolved by the United
         States District Court for the District of Delaware. Every individual who receives any Designated
         Material agrees to subject himself or herself to the jurisdiction of this Court for the purpose of any
        proceedings related to performance under, compliance with, or violation of this Order.
                   68.   Injunctive Relief. Every individual who reviews Designated Material
        acknowledges that a breach of this Order may result in immediate and irreparable injury for which
        there is no adequate remedy at law. A party may immediately apply to obtain temporary,
        preliminary, and permanent injunctive relief against a violation or threatened violation of this
        Order.


          Dated: March 12, 2019                              Respectfully submitted,

          FARNANLLP                                          MORRIS, NICHOLS, ARSHT &TUNNELL
                                                             LLP
         Isl Brian E. Farnan
         Brian E. Farnan (Bar No. 4089)                      Isl Jack B. Blumenfeld
         Michael J. Farnan (Bar No. 5165)                    Jack B. Blumenfeld (#1014)
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         mfarnan@famanlaw.com                                jblumenfeld@mnat.com
                                                             jtigan@mnat.com
         Attorneys for Plaintiff
                                                             Attorneys for Defendant


        SO ORDERED, this       ,,r:iay of March, 2019.


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                                                     EXHIBIT A

                                  ACKNOWLEDGMENTANDAGREEMENTTOBE
                                       BOUND BY PROTECTIVE ORDER

         I, _ _ _ _ _ _ _ _ _ _ _ [print or type full name], state:

         1.         I reside at
                                  --------------------
         2.         My present employer is _ _ _ _ _ _ _ _ _ _ _ _ _ __

         3.         My present occupation or job description is _ _ _ _ _ _ _ __

        4.      I have been informed of and have reviewed the Protective Order entered in the matter of
        VLSI Technology LLC v. Intel Corp., Civil Action No. I: 18-cv-00966-CFC in the United States
        District Court for the District of Delaware and I will not divulge any information, documents, or
        things that are subject to the Protective Order except in accordance with the provisions of the
        Order;

        5.      I agree to be subject to the authority and jurisdiction of the United States District Court for
        the District of Delaware in the event of any violation or dispute related to this agreement;

         6.     I state under penalty of perjury under the laws of the United States of America that the
         foregoing is true and correct.



                    Executed on _ _ _ _ _ _ _, 20_.

                                                                                Signature




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                                                      EXHIBITB

                                  CERTIFICATION OF OUTSIDE CONSULTANT

        I,
             ------------ state:
                   1.    I have read the Protective Order ("Order") in the matter of VLSI Technology LLC v.

        Intel Corp., Case No. 1:18-cv-00966-CFC, dated March 12, 2019, and understand and will abide
        by its terms.

                   2.    I am not a current or anticipated officer, director, or employee of a Party or of a

        Party's competitor.

                   3.    If at any time after I execute this Certificate of Outside Consultant and during the

        pendency of the litigation I become an employee or competitor of a Party, I will promptly inform

        the counsel for the Party who retained me in this litigation. I will not thereafter review any

        Designated Materials marked as "OUTSIDE COUNSEL EYES ONLY" or "OUTSIDE

        COUNSEL EYES ONLY - SOURCE CODE" unless and until the Parties agree or the Court

        orders otherwise.

                   4.    I will not use any Designated Material for any purpose other than this litigation.

                   5.    I agree to be subject to the authority of the District Court of the District of Delaware

        in the event of any dispute related to this certification.

                   6.    I state under penalty of perjury under the laws of the United States that the foregoing

        is true and correct.



                   Executed on
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                                                                                  Signature




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                                                         EXHIBITC

                        LITIGATION MANAGER ACKNOWLEDGMENT AND AGREEMENT
                                  TO BE BOUND BY PROTECTIVE ORDER

         i   __________                       _,
                                                   ~~=

                   I.      I reside at
                                         ---------------------
                   2.      My present employer is _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                   3.      I have read the Protective Order ("Order") in the matter of VLSI Technology LLC v.

        Intel Corp., Case No. 1:18-cv-00966-CFC, dated March 12, 2019, and understand and will abide
         by its terms.

                   4.      I meet the Order's requirements for a Litigation Manager.

                   5.      I will not divulge any confidential information or material to persons other than

        those specifically authorized by the Order. I will not use Designated Material in any manner not

        expressly allowed by the Order.

                   5.      I agree to be subject to the authority of the District Court of the District of

         Delaware in the event of any dispute related to this agreement.

                   7.      I state under penalty of perjury under the laws of the United States that the

        foregoing is true and correct.



                   Executed on
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                                                                                    Signature




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                                                       EXHIBITD

                        CERTIFICATION OF OUTSIDE PROCESS RECIPE CONSULTANT
         I, _ _ _ _ _ _ _ _ _ _ __, state:

                   1.     I have read the Protective Order ("Order") in the matter of VLSI Technology LLC v.

        Intel Corp., Case No. 1:18-cv-00966-CFC, dated March 12, 2019, and understand and will abide

         by its terms.

                   2.     I am not a current or anticipated officer, director, or employee of a Party or of a

        Party's competitor, or a current or anticipated consultant involved in product development work

        for commercial purposes that is directed to structures and methods for the manufacturing and

        packaging of silicon layers, interconnect layers, and bond pads in computer chips, including, and

        not limited to, increasing the metal density of die interconnect layers using dummy materials.

                   3.     If at any time after I execute this Certificate of Process Recipe Consultant and

        during the pendency of the litigation I become an employee or competitor of a Party, I will

        promptly inform the counsel for the Party who retained me in this litigation. I will not thereafter

        review any Designated Materials marked as "OUTSIDE COUNSEL EYES ONLY" or "OUTSIDE

        COUNSEL EYES ONLY - PROCESS RECIPE" unless and until the Parties agree or the Court

        orders otherwise.

                   4.     I will not use any Designated Material for any purpose other than this litigation.

                   5.     I agree not to perform product development work for commercial purposes that is

        directed to structures and methods for the manufacturing and packaging of silicon layers,

        interconnect layers, and bond pads in computer chips, including, and not limited to, increasing the

        metal density of die interconnect layers using dummy materials, until one year following the final

        termination of this action (including any appeals).

                   6.     I agree to be subject to the authority of the District Court of the District of Delaware

        in the event of any dispute related to this certification.

                   7.     I state under penalty of perjury under the laws of the United States that the foregoing

        is true and correct.
        Executed on _ _ _ _ _ __, 20_.
                                                                     Signature

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on August 5, 2021, I caused the foregoing to be electronically filed

 with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

 registered participants.

        I further certify that I caused copies of the foregoing document to be served on August 5,

 2021, upon the following in the manner indicated:

 Brian E. Farnan, Esquire                                            VIA ELECTRONIC MAIL
 Michael J. Farnan, Esquire
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 Wilmington, DE 19801
 Attorneys for Plaintiff

 Morgan Chu, Esquire                                                 VIA ELECTRONIC MAIL
 Ben Hattenbach, Esquire
 Iian D. Jablon, Esquire
 Christopher Abernethy, Esquire
 Amy E. Proctor, Esquire
 Dominik Slusarczyk, Esquire
 S. Adina Stohl, Esquire
 Charlotte J. Wen, Esquire
 Brian M. Weissenberg, Esquire
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 Michael D. Harbour, Esquire
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 Ben J. Yorks, Esquire                                               VIA ELECTRONIC MAIL
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 Attorneys for Plaintiff


                                          /s/ Jeremy A. Tigan
                                          Jeremy A. Tigan (#5239)
